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__ _ _\ § § l r: 0 IN THE UNITED STA'I`ES DISTRICT COURT
't'\ ..'.'. (,‘ §§ i " ‘‘‘‘‘ ’ FOR THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

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SANDRA HOLT, DEBRA GAWOR,
seam a ;-x.~.-\E,Ql;IpY.‘..SMITH, JOANN MORRIS,
u.s. DLST§H ` WACOOPER, ADELIA HARTZOG,
mth m ' L`D. PITTMAN, and MARIE
WALKER on behalf of themselves and

others similarly situated,
Plaintiffs,

v.

RITE AID CORPORATION,

Defendant.

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§
) cleL ACTION NUMBER: cV-03-A-74s-N
)
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)

DEFENDANT RI'l`E AID CORPORATION’S RESPONSE 'I`O
PLAINTIFFS’ MOTION TO FACILITATE 29 U.S.C. 8 216(b) NOTICE

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I. INTRODUCTION

Plaintiffs, all former Store Managers and Assistant Managers, seek conditional
certification of an opt-in class pursuant to 29 U.S.C. § 216(b) against Rite Aid Corporation
(“Defendant” or “Rite Aid”). Plaintiffs allege that they are not exempt employees under 29
U.S.C. § 213(a)(1) of the Fair Labor Standards Act (“FLSA”) and claim entitlement to overtime
pay. Plaintiffs bring this action individually and on behalf of a purported opt-in class and seek
Court-authorized notice to a class including more than twelve thousand (12,000) Store Managers
and Assistant Managers in twenty-eight (28) states. Plaintiffs’ brief is a meandering speaking
piece that fails to articulate a plausible theory upon which the Court could conclude that
Plaintiffs are similarly situated to the purported class. It fails even to articulate an alleged
violation of the FLSA and mischaracterizes the record evidence. Plaintiffs are so intent on
obtaining conditional certification of a large class that they have not articulated Whether they
seek conditional certification of a single class of both Store Managers and Assistant Managers or
separate classes. These Store Managers and Assistant Managers are supervised by different
management personnel and oversee completely different work environments. Plaintiffs fail to
make the requisite showing that any or all of these putative class members are similarly situated
to Plaintiffs or desire to opt into the purported collective action. Accordingly, Plaintiffs’ motion
for conditional certification should be denied.
II. STATEMENT OF RELEVANT FACTS

A. RITE AID’S ORGANIZATIONAL STRUCTURE

The approximately 3,400 Rite Aid brand retail stores are located in twenty-eight (28) states

and the District of Columbia and are owned and operated by wholly owned subsidiaries of Rite

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Aid Corporation. Declaration of Kenneth C. Black at 11 3, and Exhibit A attached thereto.1 The
Rite Aid brand retail stores are divided into three Divisions - East, Central, and West. Deposition
of Mark Panzer (“Panzer dep.) at 11,2 and Exhibit 9 to Plaintiffs’ Motion (Regional Map). Each
Division is headed by a Senior Vice President. Panzer dep. at 11. The Divisions are divided into a
total of nineteen (19) Regions, which have changed during the relevant period. lit at 15-19. Each
Region has its own management team (including a Regional Vice President) who has discretion
over the operation of the Region. E. at 15. Each Region contains approximately two hundred
(200) stores and is divided into approximately twenty (20) Districts. Deposition of Samuel Bailey
(“Bailey dep.”) at 18. Most Districts contain approximately twenty to twenty-five (20-25) stores.
§§ M. Each District is managed by a District Manager.3 Panzer dep. at 19.

There are no “normal” Rite Aid stores. Panzer dep. at 137. Rite Aid stores are different
from one another, in large part, because the Company grew by acquisition.4 Panzer dep. at 137.
Within a single Region, stores can range from 3,000 to 60,000 square feet. Panzer dep. at 137.
The annual sales volume for Rite Aid stores can range from $1.1 million to $30 million. Panzer
dec. at 11 5. Some stores are staffed with as few as ten (10) employees, while others have over

one-hundred (100) employees. §§ Plaintiffs admit that the day-to-day experiences of Store

 

l The Exhibits to this brief are included in three Appendices filed contemporaneously with the brief.

2 Excerpts from the depositions cited herein are included in Appendix 2 filed contemporaneously with this
brief.

3 District Managers coach, counsel and train Store Managers in their district. Declaration of Mark Panzer
(“Panzer dec.”) at 1[ 3, Exhibit 24. The stores within a District Manager’s district can be spread out over
several hundred miles. ld. District Managers generally visit stores to ensure that they are being run
properly. E. Plaintiffs admit that the number of times a District Manager visits stores in his or her
district varies by District Manager, as well as the performance of the store and Store Manager. See, e.g.,
Deposition of Plaintiff Marie Walker (“Walker dep.”) at 136-37. Given the number of stores in a district,
and the geographic proximity of the stores, District Managers do not and cannot manage the operations of
each particular store; rather, Store Managers and Assistant Managers, including Plaintiffs, manage them.
Panzer dec. at 11 3; see, e.g., Walker dep. at 203.

4 Unlike many nationwide drug store chains, such as Walgreens and CVS, Rite Aid grew by a series of
acquisitions, incorporating the employees and policies of the acquired companies. Panzer dep_ at 137;
Deposition of Wayne LeClair (“LeClair dep.”) at 124.

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Managers and Assistant Managers can be very different depending upon the store in which they
work. §e_e,igg Walker dep. at 161, 190 Gob duties of an Assistant Manager vary store-by-store
depending on duties delegated by the Store Manager); Deposition of Plaintiff Debra Gawor,
(“Gawor dep.”) at 276-77 (leadership skills differ among Store Managers and Assistant
Managers, so some Store Managers will delegate different duties to their Assistant Managers).

B. RITE AID STORE MANAGERS AND ASSlSTANT MANAGERS ARE IN
CHARGE OF MULTI-MILLION DOLLAR ENTERPRISES

1. Store Managers Are In Charge Of` The Operations Of Their Stores

Plaintiffs concede that Store Managers are in charge of the stores.5 Store Managers, in
association With their Assistant Manager(s), assume plenary responsibility for the management
of their particular store, including its profitability Panzer dec. at 11 3; Hartzog dep. at 149-50,
155-56; Gawor dep. at 362-63; Smith dep. at 144. Rite Aid’s Store Manager Job Description
states, “The primary purpose of this position is to operate a profitable, clean, and customer
service oriented retail store. Frequent independent judgments are essential.” _S_e§ Store
Manager’s Job Description, Exhibit 53. lt further states that the Store Manager “directly
supervises store associates and carries out supervisory responsibilities in accordance with Rite
Aid policies_and applicable laws. Responsibilities include interviewing, hiring, training,
directing, rewarding, and disciplining associates; appraising associate performance; and

resolving complaints.” 6 ILI. Plaintiffs admit that the Store Manager Job Description is an

 

5 §e_e Deposition of Joanne Morris (“Morris dep.”) at 131, 191-92, 214-15, 287; Pittman dep. at 249;
Walker dep. at 118; Deposition of Sandra Holt (“Holt dep.”) at 121; Deposition of Adelia Hartzog
(“Hartzog dep.”) at 149-50, 155-56; Gawor dep. at 386; Deposition of Polly Smith (“Smith dep.”) at 214-
1 7.

6 Rite Aid’s Store Manager Job Description specifically lists the following job duties and responsibilities:
(1) oversee the daily activities of a retail store to ensure its smooth operation; (2) oversee daily banking
activities, including ensuring all daily deposits are taken to the bank and the appropriate amount of money
is left in the store each evening; (3) review profit and loss (“P&L”) and other financial reports to identify
sales and expense control opportunities; (4) maintain and communicate to store associates all store

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accurate statement of Store Managers’ duties and responsibilities Pittman dep. at 150-51;
Walker dep. at 181-82; Hartzog dep. at 148-49; Holt dep. 219-21; Morris dep. at 69; Gawor dep.
at 162-64.7 Store Managers who perform the job duties and responsibilities listed in the Store
Manager Job Description are properly classified as exempt employees. LeClair dep. at 91, 96-
97.

The Plaintiffs in this case who worked as Store Managers (“Store Manager Plaintiffs”)
also admit that their job duties and responsibilities included maintaining and operating the store,
supervising employees, ensuring that employees follow and obey all Rite Aid rules and policies,
and managing the operations of the store. Gawor dep. at 212, 363; Smith dep. at 198, 202, 258;
Pittman dep. at 189-90. Hartzog dep. at 185, 198-200, 252-53; Holt dep. at 39, 210-11, 225; g
M Panzer dep. at 208-09. They also admit that they were in charge of and responsible for
supervising employees irrespective of the actual tasks they were performing Gawor dep. at 386;

Hartzog dep. at 190; Pittman dep. at 197, 249.

 

opening and closing procedures; (5) ensure the store is always neat, clean and well lit; (6) oversee the
prevention of shrinkage by enforcing corporate policies and procedures; (7) assist with developing a
budget for the store and monitor all activity against the budget throughout the fiscal year; (8) maintain the
store management manual by updating it with amended bulletins and implementing the policies and
procedures contained within it; (9) ensure prompt service is given to all customers and handle customer
complaints and adjustments to returned merchandise; (10) enforce all fire and safety rules and regulations
set by the Company and governmental agencies; (11) provide leadership and development for associates
by communicating career opportunities, regular performance feedback, and demonstrating RAPTAR
(“Recognition, Appreciation, Praise, Treat Associates Respectfully”) behaviors; (12) directly supervise
store associates and carry out supervisory responsibilities in accordance with Rite Aid policies and
applicable laws, including interviewing, hiring, training, rewarding, and disciplining associates; (13)
appraise associate performance; and (14) resolve complaints M Store Manager Job Description.

7 See also Declarations of Thomas Brogden (“Brogden dec.”) at 11 2; Johnny Douglas (“Douglas dec.”) at
1[ 3; Michelle Goodwin (“Goodwin dec.”) 11 4; Bill Harbeck (“Harbeck dec.”) at 11 3; Rita Humphrey
(“Humphrey dec.”) at 11 3; Linda Johnson (“L. Johnson dec.”) at 11 3; Randy Langston (“Langston dec.”) at
1[ 3; Wade Lewis (“Lewis dec.”) at 11 4; Jason Norris (“Norris dec.”) at 11 4; Paul Owens (“P. Owens dec.”)
at 11 3; Vickie Reynolds (“Reynolds dec.”) at 11 3; Terisa Ryals (“Ryals dec.”) at 11 3; Lynn Watson
(“Watson dec.”) at 11 2, Exhibits 4, 6, 8, 10, 11, 13, 16, 18, 21, 23, 25, 26, and 28, respectively.

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2. Assistant Managers Are In Charge When Store Managers Are Not
Present

As a general rule, Assistant Managers perform many of the same job duties and have
some of the same responsibilities as Store Managers and, in the absence of the Store Manager,
assume the responsibilities of the Store Manager and are in charge of the store.8 Morris dep. at
67-68, 219; Hartzog dep. at 21, 149-50; Walker dep. at 289-91; Panzer dep. at 214-16; w
Assistant Manager Job Description (Assistant Manager must “[c]omplete the duties and
responsibilities of the Store Manager in his/her absence”).9 However, the ultimate scope of an
Assistant Manager’s job duties is determined by the amount of responsibility an individual Store
Manager delegates to him or her. Walker dep. at 161, 190-93; Hartzog dep. at 16-18, 87, 92;
LeClair dep. at 89; Panzer dep. at 182. Se&l_so Goodwin dec. at 11 9; Harbeck dec. at 11 9; Knox
dec. at 11 4.

The Assistant Manager Job Description states, “[t]he primary purposes of this position
are to assist the Store Manager with the operation of the retail store, to maximize profit and loss
(P&L) performance by executing company policies and procedures, and to provide superior
customer service. Frequent independent judgments are essential.” S_e_e Assistant Manager Job

Description, Exhibit 54. lt further states, “[t]his position directly supervises store associates and

 

8 Rite Aid provides its Store Managers with a sample rotation schedule. Panzer dec. at 1[ 7, Exhibit A.
Although they are not required to follow the sample rotation schedules, Rite Aid suggests that Store
Managers and Assistant Managers work different shifts to maximize the management presence in the
store. Panzer dec. at 11 7. In most stores, the overlapping period when both the Store Manager and
Assistant Manager are in the store should be minimal. § This generally results in Assistant Managers
being the on-duty manager the vast majority of the time that they are on-duty. Morris dep. at 188; Panzer
dec. at 1[ 7. For example, in most Rite Aid stores, if the Store Manager opens the store, the Assistant
Manager should arrive at the store later in the day and will close the store. Walker dep. at 159-60; Panzer
dec. at 1[ 7.

9 See also Declarations of Vivian Annstrong (“Armstrong dec.”) at 1[11 4-6; Cliff`ord Aucoin (“Aucion
dec.”) at 111 4-6; Gloria Delmore (“Delmore dec.”) at 1[11 4~6; Janet Gregory-Smith (“Gregory-Smith dec.”)
at 111 5-7; Samuel Guthrie (“Guthrie dec.”) at jH[ 4-6; Bobby Johnson (“B. Johnson dec.”) at 1111 4-6;
Rachel Kling (“Kling dec.”) at 1111 4-6; Felicia Knox (“Knox dec.”) at 1111 5-7; Debra Owens (“D. Owens
dec.”) at 1111 4-6, Exhibits l, 2, 5, 27, 9, 12, 14, 15, and 22, respectively.

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carries out supervisory responsibilities in accordance with Rite Aid policies and applicable laws
Responsibilities include interviewing, hiring, training, directing, rewarding, and disciplining
associates; appraising associate performance; and resolving complaints.”10 E. Assistant
Managers who perform the job duties and responsibilities listed in the Assistant Manager Job
Description are properly classified as exempt employees LeClair dep. at 91, 96-97.

The Plaintiffs in this case who worked as Assistant Managers (“Assistant Manager
Plaintiffs”) uniformly agree that the Assistant Manager Job Description accurately describes
their job duties and responsibilities Hartzog dep. at 53-54; Morris dep. at 65-68; Walker dep. at
182. The Assistant Manager Plaintiffs supervised and directed the work of store employees
Morris dep. at 103, 192; Hartzog dep. at 184; Walker dep. at 208-09. The Assistant Manager
Plaintiffs admit they were responsible for supervising and monitoring subordinate employees

regardless of the actual job duties they were performing and even if the Store Manager was also

 

10 Rite Aid’s Assistant Manager Job Description specifically lists the followingjob duties and
responsibilities (1) assist the Store Manager with the operation of the retail store; (2) complete the duties
and responsibilities of the Store Manager in his/her absence; (3) enforce all policies and procedures to
ensure excellent customer service is provided and to maximize the P&L performance of the store; (4)
ensure the appearance of the store is pleasing to the customer and meets the requirements of the corporate
office; (5) ensure the store opens and closes at the appropriate time; (6) ensure the proper procedures are
followed for cash transactions and bank deposits; (7) interact with vendors to order seasonal and basic
merchandise and ice cream (where applicable) for the store; (8) merchandise for the seasonal aisle and
non-seasonal, basic, and seasonal end-caps; (9) ensure all merchandise is set up according to plan-o-
grams from the corporate office; (10) execute weekly sales ads and price changes; (1 1) process recalled,
damaged, outdated and transferred merchandise; (12) receive merchandise deliveries from vendors and
Rite Aid distribution center; (13) verify vendor invoice information is accurate and enter information into
the accounts payable system; (14) prepare the retail store for physical inventory by ensuring merchandise
on the sales floor and in the stock room is in order and easy to access; (15) utilize Staffworks software to
complete the associate work schedule; (16) remain knowledgeable of the One-Hour Photo department and
film processing, if applicable; (17) assist the Pharmacy department when there is a high volume of
customers; (18) request store maintenance when required; (19) assist with general maintenance of the
store, both inside and outside; (20) provide leadership and development for associates by communicating
career opportunities providing regular performance feedback, and demonstrating RAPTAR
(“Recognition, Appreciation, Praise, Treat Associates Respectfully”) behaviors; (21) enforce all fire and
safety rules and regulations set by the company and governmental agencies; (22) directly supervise store
associates and carry out supervisory responsibilities in accordance with Rite Aid policies and applicable
laws, including interviewing, hiring, training, rewarding and disciplining associates; (23) appraising
associate performance; and (24) resolving complaints I_d.

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present Walker dep. at 56, 118; Morris dep. at 133, 191-92, 244, 287; Hartzog dep. at 185.
Plaintiffs correctly note that in its ongoing efforts to ensure compliance with the FLSA, Rite Aid
classifies some Assistant Managers as non-exempt.ll Whether an Assistant Manager is classified
as exempt or non-exempt is based on each store’s volume and the number of people that the
Assistant Manager will supervise, the hours the store is open, and any special circumstances12
LeClair dep. at 72-74, 78; Panzer dep. at 40-41, 46-48, 53-54. For example, an Assistant
Manager who regularly works the graveyard shift in a 24-hour store may not regularly supervise
two or more employees13 Panzer dep. at 41. The determination of whether an Assistant
Manager is properly classified as exempt is made on a store-by-store basis by the Regional
Human Resources Manager.14 Panzer dep. at 41; LeClair dep. at 72-73.

C. THE ACTUAL JOB DUTIES STORE MANAGERS AND ASSlSTANT
MANAGERS PERFORM IN ANY PARTICULAR STORE DIFFER

1. Each Store’s Unique Characteristics Af`fect What Job Duties Store
Managers And Assistant Managers Perform

The day-to-day experience of Store Managers and Assistant Managers is affected by a

 

ll Rite Aid created the non-exempt Assistant Manager job classification in October 2002 to convert
salaried non-exempt Assistant Managers to hourly non-exempt employees for benefits purposes LeClair
dep. at 101-02.

12 Rite Aid conducted self-audits (at the District and Regional level) to ensure its Assistant Managers
were properly classified as exempt. §§ Plaintiffs’ Brief at 15-16. Plaintiffs misleadingly assert that the
United States Departrnent of Labor required Rite Aid to conduct these self-audits l_d. Wayne LeClair
testified that Rite Aid undertook these self-audits after an informal inquiry by the United States
Departrnent of Labor regarding whether a nighttime Assistant Manager was regularly supervising two or
more employees LeClair dep. at 131. The focus of the self-audits was on whether some salaried
Assistant Managers regularly supervised two or more employees, not on whether they performed non-
managerial duties as Plaintiffs seek to do here. lit at 77-80.

13 However, each store is different The job duties that an Assistant Manager performs on the gravede
shift in a 24-hour store in Manhattan are different than the job duties performed on the graveyard shift in
a 24-hour store in suburban Montgomery. See, generally, Panzer dep. at 41, 51, 53.

14 Plaintiffs rely on (and mischaracterize) the deposition testimony of Sam Bailey to assert that the job
duties of exempt and non-exempt Assistant Managers are the same. § Plaintiffs’ Brief at 5. Mr. Bailey
was designated as a Rule 30(b)(6) witness to testify concerning compensation. Mark Panzer, Rite Aid’s
Senior Vice President of Store Operations, who was designated to testify about Assistant Managers’ job
duties, testified that the job duties vary story-by-store. Panzer dep. at 219-20.

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number of different factors, including, but not limited to the following: where a store is located
(different income levels and crime levels require different management techniques); the size of
the store; the store’s hours of operation; the nature of the store’s clientele; merchandising and
displaying of products; the make-up and types of outside vendor merchandise (e_.g;, alcohol
cannot be sold in all Rite Aid store locations); the volume of sales; the amount of customer
traHic; the services offered by each store (g&, One Hour Photo, “GNC” vitamin department);
the available labor pool; staff tumover, which affects the amount and extent of hiring and
training; the respective abilities, management styles and experiences of the Store Manager,
Assistant Manager, if any, Shift Supervisors, if any, and other store employees; the way in which
a Store Manager delegates work to employees and the work which he/she does himself or
herself;15 and how a Store Manager prioritizes and delegates job duties to his or her respective
staff. § generally, Pittman dep. at 57-58, 62-63, 78-91, 96, 103-05, 109, 111-12, 209, 211-12;
Walker dep. at 240-41, 262-63; Gawor dep. at 86-87, 89-91, 319; Smith dep. at 200; Mo_
Panzer dec. at 11 6. All of these factors can affect the number of hours a Store Manager and

Assistant Manager work, as well as the types of job duties they perforrn.16 E.

 

15 The job duties of Store Managers and Assistant Managers are also affected by their District Managers
Like any other managers, District Managers have different management styles and exercise different
degrees of control over each store’s operations and the Store Manager’s job duties Walker dep. at 213-
14; Hartzog dep. at 144-48, 158. F or example, most District Managers conduct store visits once a month.
Gawor dep. at 264; Holt dep. at 139-40. However, some District Managers conduct store visits “[e]very
other week, every third week.” Pittman dep. at 218-19; Gawor dep. at 264. Still other District Managers
may conduct store visits, “[a]bout every day, seemed like. Probably at least two to three times a week.”
Pittman dep. at 219-20. The management style and experience level of a District Manager may also
directly impact the job duties of a Store Manager and or Assistant Manager. Walker dep. at 214.
Moreover, the Store Manager’s experience level and the store’s fiscal health can impact the level of
discretion a District Manager affords to a Store Manager. ld. at 136-37.

16 For example, one Store Manager Plaintiff (Gawor) testified she was encouraged by another Store
Manager (Nadine Brown) to apply for a position at Rite Aid because it was an “easy job.” Gawor dep. at
85. However, the stores they worked in “were very different from each other.” E. at 86. The Store
Manager who represented that it was an easy job worked in a freestanding Rite Aid One store, whereas
the Plaintiff worked in a non-Rite Aid One store located in a shopping center. lc_i. at 86-87. As a result,

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2. The Amount Of Authority Store Managers Delegate To Assistant
Managers Varies According To The Management Ster Of The Store
Manager And The Experience Level And Abilities Of Each Assistant
Manager
The job duties Assistant Managers perform vary store-by-store depending on the control
and discretion the Store Manager delegates to the Assistant Manager.17 Walker dep. at 190.
Store Managers can and do have different management styles ILI. As one Assistant Manager
testified, when she worked under a Store Manager with a controlling management style, “it was
hard for [the Store Manager] to let go and let me do some of the tasks that an Assistant Manager
does.” Walker dep. at 190-91. But when this Assistant Manager Plaintiff worked under a
different, less controlling Store Manager, she performed more managerial job duties such as
scheduling and determining the number of hours each employee worked. Walker dep. at 189-90.
The job duties and responsibilities of an Assistant Manager will also depend upon the
experience level of the Assistant Manager. Walker dep. at 210; Hartzog dep. at 324. A Store

Manager will likely delegate certain job duties and responsibilities to a well-seasoned Assistant

Manager that he or she would not delegate to a new Assistant Manager.11‘1 Morris dep. at l l 1.

 

the Plaintiff could not follow the profit planner in her store, which made her job duties with respect to
merchandising different from the Store Manager who worked in the Rite Aid One store, lc_l. at 87-89, 185.
17 Q. And the job duties as an Assistant Manager at one store may be different
than at another store, depending on what the Store Manager delegates,
correct?
A. Right.
Q. And what a key supervisor does may also be different depending on what the
Store Manager and Assistant Manager decide to delegate, correct?
A. Right.
Walker dep. at 161 .
18 Unlike Assistant Managers, the authority Store Managers delegate to Shift Supervisors is more
circumscribed Shift Supervisors are rarely involved in the hiring, firing, disciplining and other job duties
requiring discretionary authority and decision-making LeClair dep. at 88-89; Panzer dep. at 86.
Although they may on occasion perform managerial duties delegated by their Store Managers or Assistant
Managers, management is not their primary duty. Panzer dep. at 57-58. Plaintiffs admit that the Shift
Supervisor Job Description, Exhibit 55, accurately describes Shift Supervisors’ job duties and
responsibilities Walker dep. at 183, 297-98; Pittman dep. at 276.

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Thus, a well-seasoned Assistant Manager may perform many job duties, such as scheduling and
hiring, which a new Assistant Manager may not.19 Walker dep. at 162-63, 210.

D. THE ACTUAL JOB DUTIES PERFORMED BY EACH STORE
MANAGER AND ASSlSTANT MANAGER PLAINTIFF DIFFERED

Plaintiffs’ primary duty was to “run” a clean and profitable store, Walker dep. at 210-11.
Each Manager had discretion to determine how to do so. Silsby dep. at 70-71. A common
theme among the Plaintiffs is that they chose to “lead by example.” g Smith dep. at 145, 148;
Gawor dep. at 249, 308, 327; Holt dep. at 210; Walker dep. at 210. One Store Manager Plaintiff
testified that she got her employees to Work by working with them. Smith dep. at 148. An
Assistant Manager Plaintiff testified that: “[M]y primary duty was to run a good store l mean,
not just sit there and manage, but you know, but make sure everything gets done, make sure the
store is looking good. I mean, you can’t just stand around and manage. That’s not going to get
anything done.” Walker dep. at 210. Of course, Managers who choose to lead by example and
perform the same duties that their subordinate employees perform, will, by nature, perform tasks
that could be deemed non-managerial. lt is disingenuous for individuals who choose to lead by
example and perform such tasks to then claim that they should be classified as non-exempt
employees and given a windfall because of their chosen management style. Moreover, as shown
below, many of the actual duties each Plaintiff chose to perform differed.

1. The Hiring Process For Non-Management Store Level Employees
Plaintiffs’ assertion that District Manager approval was required to hire entry-level

employees is belied by the faetS.Z° w Plaintiffs’ brief ar 12. Plaintiffs were integrally involved

 

19 One Assistant Manager Plaintiff testified that her Store Manager rarely worked and Would “just come
and tell people what to do for a few minutes and then [he or she would] leave for the day.” Hartzog dep.
at 16-18, 87. ln that case, as a consequence of the Store Manager not properly performing his job, the
Assistant Manager Plaintiff worked harder and spent more time in charge of the store than if the Store
Manager had properly performed his job. E. at 16-18, 92.

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in the hiring process The Store Manager Plaintiffs admit that they pre-screened applicants S_ee,
§g;, Pittman dep. at 159-60. ln fact, one Store Manager Plaintiff delegated the authority to pre-
screen applicants to both his Assistant Manager and Shift Supervisor. E. The pre-screening
process involved determining whether an interested person would be considered for a position.

Smith dep. at 99; Walker dep. at 57-58, see also Rite Aid Policies and Procedure Manual at RAH

 

01468-77, Exhibit 56. Once candidates cleared a telephonic screening process,21 the Store
Manager Plaintiffs then had discretion to determine who they would interview. Gawor dep. at
82-83; Smith dep. at 100, 106; Walker dep. at 218; Hartzog dep. at 125-26 (interviewed
pharmacy employees in addition to front-end employees). One Store Manager Plaintiff had a
District Manager participate in the interviews of non-management level employees Pittman dep.
at 160. All but two of the Store Manager Plaintiffs testified that they had discretion to determine
which candidates they would hire after the interview process and that District Manager approval
was not required. Gawor dep. at 50, 81, 150, 152 (listing numerous people she hired); Morris
dep. at 45-46, 79 (District Manager approval was not required); Holt dep. at 62-66; Walker dep.

at 57-58, 218. Only two Store Manager Plaintiffs allegedly had to seek approval from their

 

211 Plaintiffs’ form declarations directly contradict their deposition testimony. Compare Hartzog dec. at

11 7 (District Manager approval required to hire employees) M Hartzog dep. at 52, 176 (District
Manager approval not required to hire employees); see also Exhibits 46 through 52 showing
contradictions in testimony for each Plaintiff. Defendant requests that the Court carefully scrutinize
Plaintiffs’ record citations

21 Rite Aid utilizes an outsourced pre-screening process called Quickscreen Which potential applicants
must complete (by telephone), and which seeks basic background information to Weed-out convicted
felons and individuals lacking the trustworthiness necessary for such things as handling cash, etc. Panzer
dep. at 170-74. Candidates must complete this pre-screening process before they are formally
interviewed ld. Store Managers, or others to whom they delegate such authority, decide which potential
candidates will be pre-screened and provide them the necessary information (a card with a telephone
number) to complete the process M. Store Managers later receive a report indicating whether each
person who went through the pre-screening process passed or failed. l_d_. at 174. Although company
policy states otherwise, some Store Managers have hired candidates Who did not pass Quickscreen. Li. at
172. lt is this process that Plaintiffs rely upon to assert that their discretion to interview and hire
candidates is restricted (by “Corporate”). Plaintiffs’ Brief at 12.

 

11

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District Managers to hire entry-level employees Pittman dep. at 163 (his recommendations Were
approved 95% of the time); Smith dep. 96, 100-02.

Assistant Managers’ roles in the pre-screening, interviewing and selection process
varies22 Both Assistant Manager Plaintiffs testified that they participated in interviews Walker
dep. at 218, 253; Morris dep. at 79. One Assistant Manager Plaintiff understood that Assistant
Managers had discretion to hire employees in some stores, but Shift Supervisors could not.
Walker dep. at 145-47, 310. Another Assistant Manager Plaintiff understood that she could
make recommendations but had no authority to hire employees23 Morris dep. at 79.

2. Prioritizing And Assigning Work To Be Perf'ormed

The Store Manager in each store is responsible for walking his or her store daily and
preparing a Daily Tour Sheet identifying particular tasks that must be completed. _S_ee Store
Operations Manual at RAH 01907, Exhibit 57. Most Store Manager Plaintiffs testified that they
prepared the Daily Tour Sheets and used them to prioritize and assign daily tasks to employees
Smith dep. at 172-73, 181 (completed and hung in her office); Gawor dep. at 139-40 (if absent,
would prepare a list of tasks the day before), 145-46 (allowed Assistant Manager to assign duties
to employees); Pittman dep. at 157-58 (used Daily Tour Sheet to assign duties and plan work for

the day); Holt dep. at 117-18, 189. Plaintiff Gawor admits she did not always prepare a Daily

 

22 Some Assistant Managers were involved in reviewing job applications and interviewing and hiring
employees Aucion dec. at 11 7; Delmore dec. at 11 7; D. Owens dec. at 11 7. Others were only involved in
the pre-screening process B. Johnson dec. at 11 7. Others were not involved in the process at all.
Armstrong dec.; Gregory-Smith dec.; Guthrie dec.', Kling dec.; Knox dec.

23 New hire paperwork was prepared by both the Store Manager and Assistant Manager Plaintiffs,
depending on the stores irl which they worked. Walker dep. 214-15 (varied store-by-store); Hartzog dep.
at 214-16; Smith dep. at 194; Gawor dep. at 377; Pittman dep. at 165 (Shift Supervisors could prepare
paperwork in his store, but Store Manager or Assistant Manager always reviewed). Similarly, new
employee orientation, which involved covering work rules and ensuring the new employee understood
company policies and procedures, was performed by both the Store Manager and Assistant Manager
Plaintiffs, depending on the store. Smith dep. at 194-97; Holt dep. at 108-12; Gawor dep. at 259; Hartzog
dep. at 214-16.

12

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Tour Sheet. Gawor dep. at 139-40. If the Store Manager did not prepare the Daily Tour Sheet or
delegated the tasks to the Assistant Manager Plaintiffs, in some stores, the Assistant Manager
Plaintiffs did and would assign and apportion work to other employees Morris dep. at 95-96,
100, 105; Walker dep. at 245-46; Hartzog dep. at 153, 179.
3. Setting And Adjusting Employees’ Work Schedules

Contrary to Plaintiffs’ assertions, Plaintiffs were responsible for determining when and
how long their employees worked. Until early 2002, when Staff`\)vorks24 became available on-
line, the Store Manager or Assistant Manager Plaintiffs manually prepared store schedules25
Smith dep. at 118; Holt dep. at 102; Walker dep. at 63-64 (Assistant Manager always did
scheduling in one store where Walker worked), 153-54 (varied by store); Hartzog dep. at 46-48
(as Assistant Manager, she did the scheduling both with her Store Manager and by herself), §
Lsg Silsby dep. at 29 (before Staffworks, various methods used to schedule employees). After
Staffworks went on-line, it would print out a suggested schedule based on input from the Store
Manager and Assistant Manager Plaintiffs who then had discretion to alter the suggested
schedule to the extent they deemed necessary. Morris dep. at 114 (proposed schedule did not
assign duties and could be changed); Gawor dep. at 192 (Store Manager maintained discretion to
decide who worked and when); Pittman dep. at 250-52 (Store Manager could completely revise
schedule); Walker dep. at 171 (not aware of any company policy that limited the ability to make
changes), 313 (Store Managers and Assistant Managers did the scheduling, not Staffworks);

Hartzog dep. at 142 (Staffworks was only a tool to help schedule employees). The Store

 

24 Staffworks is a computer program that, in part, assists with scheduling employees to work in stores by
reviewing each store’s sales volume and comparing it to employee availability (which must be manually
entered) and the store’s budget to provide a proposed weekly schedule based on the labor hours needed to
run the store. Markley dep. at 20-21, 27, 61.

25 Although Rite Aid has directed its Store Managers and Assistant Managers to use Staffworks, some
continue to manually prepare schedules Silsby dep. at 25-27.

13

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Manager Plaintiffs, and in some stores the Assistant Manager Plaintiffs,26 could freely change
the proposed schedule based on employee needs, store needs or other factors27 Smith dep. at
121-22; Gawor dep. at 191; Morris dep. at 80, 83; Holt dep. at 99; Pittman dep. at 114; Walker
dep. at 207; M Silsby dep. at 104 (can adjust proposed schedules as needed); Markley dep.
at 20-21.

Staffworks also did not assign job duties to any employees That was determined by the
manager on duty. Pittman dep. at 166. Staffworks did not schedule the Store Manager or
Assistant Manager Plaintiffs Hartzog dep. at 138-39; Markley dep. at 113. Rather, they agreed
on days they would work and manually entered their schedules into Staffworks M.

ln addition to making changes to schedules in the Staffworks’ computer prograrn, the
Store Manager and Assistant Manager Plaintiffs (depending on the store) could make
handwritten manual changes to account for changes in the schedule such as unexpectedly absent
employees Gawor dep. at 190-91. District Manager approval was not required to make changes
to the schedule. Holt dep. at 142 (until Greg Wilson became her District Manager, Holt could
make edits to schedules without District Manager approval); Gawor dep. at 195 (no one ever
prohibited or instructed Gawor not to make changes to the Staffworks Schedule); Walker dep. at

171 (same). At least one Store Manager Plaintiff believed that District Manager approval was

 

211 The person(s) responsible for and involved in the Staffworks scheduling process varies by store. ln
some stores, both the Store Manager and Assistant Manager Plaintiffs were involved, but the Shift
Supervisor was never involved. Walker dep. at 188-89 (in one store only the Store Manager did the
scheduling, in other stores both Store Managers and Assistant Managers were involved), 314-15 (the Shift
Supervisor was never involved in scheduling in any stores Walker worked at); Pittman dep. at 110 (as a
Store Manager, Pittman allowed Assistant Managers and Shift Supervisors to participate in the scheduling
process), 110-11 (only Store Manager and Assistant Manager could approve employees’ requests for time
off), 182 (Store Manager coordinated breaks for employees), l 10-1 l (Store Manager worked with
Assistant Manager to approve tirne-off for employees).

27 Although Plaintiffs’ allege that Store Managers and Assistant Managers could not change their stores’
hours of operation, Plaintiff Holt admits she closed her store ten minutes early everyday because she had
a long commute. Holt dep. at 123-24.

14

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required to change the schedule only when the change caused her to go over the store’s budget
Hartzog dep. at 262. She also understood that, although overtime was discouraged, it was not
prohibited E. at 267; M Bailey dep. at 76-77.

4. Disciplining And Terminating Employees

The Store Manager Job Description specifically provides that Store Managers have
discretion to discipline employees _S_Y Store Manager lob Description, Exhibit 53 to Plaintiffs’
Brief. All Store Manager Plaintiffs testified that they could discipline store-level employees
Smith dep. at 107 (written discipline), 109 (disciplined pharmacy employees), 117; Gawor at 51;
Holt dep. at 103-07 (written and verbal discipline); Pittman dep. at 152-53; Hartzog dep. at 195-
205 (disciplined pharmacy employees); c_:_f. Gawor at 43 (no authority over pharmacy
employees). However, one Store Manager Plaintiff believed he was required to obtain District
Manager approval before issuing written discipline Compare Hartzog dep. at 232 (District
Manager approval not required) v_v@ Pittman dep. at 188-89 (District Manager approval
required). Some Store Manager Plaintiffs allowed their Assistant Managers to discipline
employees without seeking approval from the Store Manager. Pittman dep. at 189. At least one
Assistant Manager Plaintiff believed that she had authority to discipline employees without Store
Manager approval. Walker dep. at 218.

Store Managers have authority to terminate employees up to an including Shift
Supervisors Panzer dep. at 198. At least one Assistant Manager Plaintiff believed that her Store
Manager had authority to and did terminate employees Walker dep. at 165-66, 304-05. She
also believed that as an Assistant Manager, she had authority to terminate employees, although
she never exercised that authority. E. at 305, 310-11 (aware of one other Assistant Manager

who had authority to terminate employees). Some Store Manager Plaintiffs testified that they

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terminated employees Hartzog dep. at 195-98 (recognized that it was not a bad idea to seek
District Manager advice before termination). Other Store Manager Plaintiffs believed they could
terminate employees for some reasons, but not others Compare Gawor dec. at 1[ 6 (“l did not
have authority to terminate an employee unless I caught them stealing....”) (emphasis added)
M Holt dec. at 11 6 (“l did not have authority to terminate an employee 1 caught stealing....”)
(emphasis added). At least one Store Manager Plaintiff assumed District Manager approval was
always required before terminating an employee because one District Manager told him so.
Pittman dep. at 126-27. That Store Manager Plaintiff also testified that both Store Managers and
Assistant Managers could recommend termination, and that his recommendation to terminate an
Assistant Manager was accepted E. at 124-25, 240; Morris dep. at 102 (Assistant Manager
could recommend termination).
5. Handling Employee Disputes And Grievances

Most Store Manager Plaintiffs testified that their duties included handling and attempting
to resolve employee disputes and grievances Smith dep. at 108; Gawor dep. at 51; Holt dep. at
113, 116; Hartzog dep. at 198, 200. Some Store Manager Plaintiffs involved their District
Manager for more serious issues, such as alleged theft. Holt dep. at 113-14. At least one
Assistant Manager Plaintiff testified that the person responsible for handling an employee
complaint or grievance was dictated by the type of complaint Walker dep. at 219.

6. Training Subordinate Employees

All Store Manager and Assistant Manager Plaintiffs admit that they trained store-level
employees28 Smith dep. at 188-90 (trained employees to become Assistant Managers); Gawor
dep. at 52-79 (trained employees to give good customer service), 272-73 (believed she trained

her employees Well), 281 -82 (provided training regarding sexual harassment and equal

 

28 See also Rite Aid Policies and Procedures Manual at RAH-01483-88, Exhibit 56.

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employment opportunity policies); Morris dep. at 104-05 (instructed employees and trained them
in work techniques); Pittman dep. at 163 (Store Manager and/or Assistant Manager trained brand
new employees); Walker dep. at 254 (provided substantial training to employees); Hartzog dep.
at 244-48 (prepared training progress reports for new employees). Store Managers or Assistant
Managers trained new employees but Shift Supervisors usually did not. Pittman dep. at 68.
Ultimately, the Store Manager was responsible for training new employees ld_. At least one
Store Manager Plaintiff testified that some District Managers but not others required him to
travel to other stores to train new or struggling Store Managers E. at 221.
7. Evaluating Employee Performance

Rite Aid’s store-level associates are evaluated on a yearly basis § Rite Aid Policies
and Procedures Manual at RAH 01489-93, Exhibit 56. All of the Store Manager Plaintiffs
testified that they prepared performance evaluations for their associates Smith dep. at 115-16,
300; Gawor dep. at 218; Holt dep. at 260, 262, 264; Pittman dep. at 150 (prepared performance
evaluations for Shift Supervisors); Walker dep. at 187; Hartzog dep. at 95, 265. In some stores,
the Store Manager Plaintiffs sought input and assistance nom their Assistant Managers Hartzog
dep. at 95; Walker dep. at 187. Other Store Manager Plaintiffs did not seek input or assistance
from their Assistant Managers Morris dep. at 163. Shift Supervisors were not involved in the
performance evaluation process Walker dep. at 187. ln addition to formal yearly performance
evaluations the Store Manager Plaintiffs provided informal evaluations of Assistant Managers
and Shift Supervisors Pittman dep. at 224-26.

8. Recommending Prornotions And Raises
Pursuant to Rite Aid’s Shift Supervisor promotion process Store Managers and District

Managers are involved in decisions regarding promotions to Shift Supervisor. Although the

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District Manager has the ultimate authority to decide who is promoted, Store Manager
recommendations are actively sought and considered.29 Many of the Store Manager Plaintiffs
recommended employees be promoted to Shift Supervisor positions Smith dep. at 93 -95
(recommended employees be promoted to Shift Supervisor and recommendations were always
accepted); Gawor dep. at 154-55 (recommended employees be promoted to Shift Supervisor);
Pittman dep. at 150 (completed performance evaluations for hourly employees including Shift
Supervisors). At least one of the Assistant Manager Plaintiffs Was promoted to Assistant
Manager because of the unsolicited recommendation of her Store Manager. Walker dep. at 148-
49. ln addition, Store Managers have authority to recommend raises for employees who were
doing their job well. Smith dep. at 115. Some District Managers sought input concerning raises
for store-level employees from the Store Manager.30 Pittman dep. at 76-77.
9. Accounting For Inventory And Merchandising

Most Store Manager and Assistant Manager Plaintiffs admit that they were responsible
for accounting of inventory. Morris dep. at 54, 169, 233; Walker dep. at 216, 256; Smith dep. at
150; Gawor dep. at 332; Holt dep. at 179; Hartzog dep. at 199; Pittman dep. at 175. Ensuring the
store has the proper amount of inventory -- determining what merchandise is selling well and
what merchandise the store needs more of -- involves judgment and discretion. Walker dep. at
256-57. Store Managers must track the sale of merchandise and order additional merchandise as
needed based upon sales Smith dep. at 150-51. One Store Manager Plaintiff explained that if
the store does not have the merchandise to sell, then volume could not be increased until the

Store Manager picked up the phone and requested more merchandise Smith dep. at 153-54.

 

29 This process is not always followed because District Managers are often too far away fiom stores to
poarticipate fully in selecting Shift Supervisors Panzer dep. at 24-25.

Before 2004, Store Manager, Assistant Manager and Shift Supervisor compensation decisions were
completely decentralized and all over the board Bailey dep. at 27, 31, 85.

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Another Store Manager Plaintiff testified that he never allowed his Shift Supervisors to complete
an “ad order,” but another Plaintiff testified that when she was a Shift Supervisor, her Store
Manager allowed her to place ad orders Compare Pittman dep. at 175 M Walker dep. at 69-
70, 190.

The Store Manager Plaintiffs Were ultimately responsible for the merchandising of the
store. Gawor dep. at 251. Proper merchandising of the store affects the store’s sales and
contrary to Plaintiffs unsupported assertions the Store Manager Plaintiffs Were afforded
discretion with respect to merchandizing.31 As one Assistant Manager testified regarding her
Store Manager, “[e]ven if it was something that did not sell good, she would normally make this
dramatic display to where it would sell good l mean she would always come up with these ideas
as how to, you know, fix the stuff up to where it would sell good.” Walker dep. at 91-92.
According to one Store Manager “all stores is not set up alike.” Holt dep. at 145. Because Rite
Aid stores are not the same, Rite Aid’s suggested plan-o-grams and profit planners often required
the Store Manager Plaintiffs to exercise his or her discretion with regard to displaying
merchandise Within the store’s limited physical space. Holt dep. at 145-46 (Plaintiff Holt’s store
was an old store and she “couldn’t set the store by the profit plan” because it was too small and
did not have enough end caps which are the shelves at the end of the store aisles); Gawor dep. at

87, 89, 185.3 2 Contrary to Plaintiffs’ assertion in their Brief, some Store Manager and Assistant

 

31 The five most important job duties listed by one Assistant Manager in her performance review were: l)
merchandising; 2) scheduling; 3) computer applications 4) customer service; and 5) delegating to Shift
Supervisors and Cashiers. Morris dep. at 304-05, Exhibit 10 thereto.

32 The Store Manager Plaintiffs were afforded discretion with regard to merchandizing certain end caps
called “Manager’s Choice.” Pittman dep. at 214-15. A Manager’s Choice end-cap may contain a beer or
chip promotion, or remnants from a previous sale, “basically it was the manager’s option.” Pittman dep.
at 214-15. The Store Manager Plaintiffs put items that they knew from experience sold well in those end
caps Walker dep. at 73-74. The Store Manager Plaintiffs could also decide to allow a direct store vendor
to set up a promotional display, but “a lot depended upon the District Manager in the store you were in.”
Pittman dep. at 216.

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Manager Plaintiffs testified that they had discretion to determine what merchandise would be
sold in their stores Walker dep. at 248, 307-08, 310 (in some stores Shift Supervisors could
order but not in other stores); Pittman dep. at 174-75, 178, 215 ; Smith dep. at 150-51; Hartzog
dep. at 197-99.
10. Responsibility For Customer Service

Providing customer service is an important and necessary management flmction that has a
direct impact upon a store’s sales S_ee Gawor dep. at 71 (taking credit for increase in store sales
because of the customer service that she provided); Smith at 298 (f`lrst sentence of self-
performance appraisal states her job “is to lead my store in the area of customer service”). Most
Store Manager and Assistant Manager Plaintiffs admit that their management duties included
spending time to ensure their employees were providing an adequate level of customer service.
Walker dep. at 211, 257-58; Morris dep. at 298; Hartzog at 46-47. In addition, the Store
Manager and Assistant Manager Plaintiffs were responsible for training employees regarding
customer service. Smith dep. at 295-97; Gawor dep. at 79. Some Store Manager Plaintiffs also
testified that it is their job to receive and resolve customer complaints Smith dep. at 154-56',
Gawor dep. at 252-53; Pittman dep. at 184, 196 (manager could modify price of merchandise to
resolve customer complaint).

11. Preparing And Reviewing Daily, Weekly And Monthly Reports

Rite Aid Store Managers and Assistant Managers are responsible f`or generating,
maintaining and reviewing several financial reports on daily, weekly, bi-weekly and monthly
bases § Exh. 9 to Pittman dep. at 275 (chart of the daily, weekly and monthly reporting

responsibilities); see also Store Manager and Assistant Manager Job Descriptions (stating that

 

Store Managers and Assistant Managers shall “review profit and loss (P&L) and other financial

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reports”). The regular reports include the: (1) Business Day Report (“BDR”), a weekly sales
report; (2) coupon recap report, a reconciliation report between coupons actually received and
those received by the computer report; (3) Monthly P&L report; (4) Forrn 30 report, which
indicates markdowns of merchandise taken at the register; (4) vendor report; (5) deposit report,
which shows daily deposits that were taken to the bank; and (6) reconciliation report, a report
that is printed for each cashier per shift and reflects that cashier’s register activity. Smith dep. at
160, 274-77; Gawor dep. at 237; Holt dep. at 178-79; Pittman dep. at 121, 186. ln some stores,
the Store Manager Plaintiffs involved their Shift Supervisors in the reporting process Walker
dep. at 219-20 (stating that maintaining, reviewing and generating production and sales records
could be done by Store Manager, Assistant Manager or Shift Supervisor, but varied by store).

12. Balancing The Books And Making Bank Deposits

Plaintiffs do not dispute that they were responsible for ensuring that bank deposits were
made. Both the Store Manager and Assistant Manager Job Descriptions state that Store
Managers and Assistant Managers are “responsible of overseeing daily banking activities
including ensuring all daily deposits are taken to the bank and the appropriate amount of money
is left in the store each evening.” § Store Manager and Assistant Manager Job Description,
Exhibits 53 and 54. Furthermore, all Store Manager and Assistant Manager Plaintiffs testified
that they performed this managerial job duty. Smith dep. at 279; Gawor dep. at 53, 281; Morris
dep. at 108; Holt dep. at 192; Pittman dep. at 198; Walker dep. at 243-45; Hartzog dep. at 156-
57. One Store Manager Plaintiff testified that she had discretion to either take the deposit to the
bank herself or delegate this job duty to other employees Hartzog dep. at 182 (testifying that
previous Store Manager would typically take the deposits to the bank, but when Hartzog was the
Store Manager, she would typically delegate this duty to other employees). The Store Manager

and Assistant Manager Plaintiffs were also responsible for reconciling the registers to make sure

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that receipts matched the day’s actual sales w Rite Aid Policies and Procedures Manual at
RAH 01225; Gawor dep. at 53; Walker dep. at 250; Hartzog dep. at 199; Pittman dep. at 88-89,

185.

13. Controlling Shrink And Receiving Merchandise

Store Managers and Assistant Managers are responsible for controlling shrink, which is
loss of inventory caused by external or internal theft.33 Gawor dep. at 247; Smith dep. at 161;
Morris dep. at 107; Pittman dep. at 96, 99-100, 107-08; Holt dep. at 94-95; Walker dep. at 223-
24; Panzer dep. at 145 -47, 152; M Store Manager and Assistant Manager Job Descriptions;
and exhibit 10 to Smith’s dep. (shrink management tool). Ways irl which a Store Manager can
control shrink include monitoring associates shifts by computer, printing out cashier journal
reports and reviewing them for underages determining which manager approved any price
modifications checking employees’ bags before they leave the store, checking female
employees’ purses and keeping an eye out for potential shoplifters and suspicious associates
Smith dep. at 161-62. Shrink varies significantly by store location and can have an impact on a
Store Manager’s hours worked and job duties Pittman dep. at 96, 103-04, 212.

The Store Manager Plaintiffs testified that it was also their responsibility to oversee the
receipt of merchandise and ensure warehouse and direct vendor shipments were properly
processed and distributed Smith dep. at 260-61; Gawor dep. at 323; Morris dep. at 54, 170-71,
245; Pittman dep. at 213-14. Products received must be accurately reflected in the paperwork

describing the incoming shipment, placed on shelves in a timely manner, and removed when

 

33 Although Plaintiffs assert that they had little control over cash in the store and were limited as to cash
variances two Plaintiffs exercised the managerial discretion afforded to them to steal money, and were
ultimately terminated for theft Plaintiff Hartzog was terminated for stealing $9,604.40. SL Exhibit 23
to Hartzog dep. (signed confession). Plaintiff Walker was terminated for stealing $1,300. § Exhibit 6
to Walker dep. (signed confession).

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expired 13. Different Store Manager Plaintiffs viewed the Store Manager’s role with respect to
receiving merchandise in different ways Compare Hartzog dep. at 192 _w'l@ Pittman dep. at 213.
14. Documenting And Reporting Incidents And Accidents
Rite Aid Store Managers and Assistant Managers are responsible for completing incident
and accident reports and conducting accident investigations Pittman dep. at 101-03, 193 -94;

Gawor dep. at 235; see also Rite Aid Store Operations Manual at RAH-019l9, 01970-71, Exhibit

 

57. One Store Manager Plaintiff admits she completed an accident report when a customer
slipped and fell.34 Smith dep. at 201. Furthermore, if a cashier witnessed a customer stealing,
the cashier would report the incident to the manager on duty. Pittman at 101 -03. The manager
on duty would then approach the individual, try to recover the merchandise, and detain the
shoplifter in the store until the police arrived Pittman dep. at 101-03. Afterwards the manager
would fill out an incident report and sign and aid in completing any necessary police report.
Pittman at 101-03. Also, if an employee was injured on the job, the Store Manager was
responsible for completing all necessary paperwork. Rite Aid Store Operations Manual at RAH-
01953, Exhibit 57.
15. Completing Paperwork on a Dain Basis

Most Store Manager and Assistant Manager Plaintiffs testified that they completed
paperwork on a daily basis Gawor dep. at 53 (completed paperwork on a daily basis); Holt dep.
at 178 (completed paperwork on a daily basis); Hartzog dep. at 200 (completed paperwork on a

daily basis); Walker dep. at 226-27 (Assistant Manager completed paperwork on a daily basis);

 

34 The Store Manager and Assistant Manager Plaintiffs admit they were responsible for ensuring that
company policies were communicated and followed by store personnel and that the store environment
was safe for customers and employees Smith dep. at 170, 194, 202, 258, 288; Hartzog dep. at 198-99;
Morris dep. at 67-68, 107. The Store Manager Plaintiffs were responsible for conducting monthly safety
meetings and reviewing all safety rules with new hires § Rite Aid Store Operations Manual at RAH-
01943, Exhibit 57; Pittman dep. at 194.

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Morris dep. at 148 (one of Assistant Manager Morris’s skill sets was the ability to keep the office
organized clean efficient and to do paperwork). In fact, one Store Manager Plaintiff testified that
he would evaluate his Assistant Managers based upon the completeness of their office
paperwork. Pittman dep. at 224. The completion of paperwork was managerial Work. Gawor
dep. at 386-87.
16. Attending District And Regional Meetings

Store Managers attended monthly District meetings and annual Regional meetings
Gawor dep. at 281; Holt dep. at 231-32; Pittman dep. at 140. After the meetings the Store
Manager Plaintiffs discussed the information provided to them at meetings with their store
employees Holt at 233-34; Pittman dep. at 142-43. ln addition, some Store Manager Plaintiffs
conducted monthly meetings in their stores Holt dep. at 233; Morris dep. at 321.
HI. LEGAL ANALYSIS

The record and applicable legal precedent do not support Plaintiffs’ request for
conditional certification and Court authorized notice pursuant to § 216(b) of the FLSA. _Sg 29
U.S.C. § 216(b).35 Plaintiffs’ highly individualized claims (which are subject to individual
defenses and require individual factual inquiry) do not lend themselves to §216(b) treatment and
render Plaintiffs unable to carry their burden of satisfying any of the requirements for conditional
certification Accordingly, the Court should deny Plaintiffs’ request for conditional certification

and refuse to send notice to Defendant’s Store Managers or Assistant Managers

 

35 Specifically, §216(b) provides that an action may be brought “by any one or more employees for and on
behalf of himself or themselves and other employees similarly situated,” but “[n]o employee shall be a
party plaintiff to any such action unless he gives his consent in writing to become such a party and such
consent is filed in the Court in which such action is brought.” 29 U.S.C. § 216(b) (2000).

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A. THE sTANl)ARD FoR A coLLECTIvE ACTIoN UNDER sECTIoN
216(b)

Although courts have discretionary power to authorize the sending of notice to potential
class members in a collective action brought under Section 216(b), this power must “be
exercised with discretion and only in appropriate cases.” Horne v. United Servs. Auto. Ass’n,
279 F. Supp. 2d 1231, 1233 (M.D. Ala. 2003) (citing Ha)mes v. Singer Co., 696 F.2d 884, 886
(1 lth Cir. 1983)); see also Hoffrnann-LaRoche, lnc. v. Sperling 493 U.S. 165, 169-70 (1989)
(confirming the existence of the district court’s discretion to send notice, not the details of its
exercise); Hall v. Burk, No. 301CV2487H, 2002 WL 413901, at *2 (N.D. Tex. Mar. ll, 2002)
(“District Courts have discretion to authorize notice to similarly situated employees that they
may opt-in as a class but that notice is by no means mandatory.”); Bemard v. Household lnt’l,
231 F. Supp. 2d 433, 435 (E.D. Va. 2002) (same); Watts v. Marion Coungg, No. 94-1428, 1995
WL 264189, at *1 (D. Or. May 1, 1995) (sarne). A collective action should be permitted to
proceed only where it facilitates a court’s ability to resolve efficiently multiple claims in one
proceeding §Brl_ir_lg, 490 U.S. at 170.

Before conditionally certifying a collective action and authorizing notice,36 the Court

must “‘satisf`y itself that there are other employees who desire to “opt-in” and who are “sirnilarly

 

36 The Eleventh Circuit suggests that district courts use a two stage ad hoc approach when deciding
whether to certify a collective action. Hinp v. Libertv Nat’l lns. Co., 252 F.3d 1208, 1218 (l lth Cir.
2001) (per curiam), cert. denied, 534 U.S. 1127 (2002); Reed v. Mobile Countv School Svs, 246 F. Supp.
2d 1227, 1230 (S.D. Ala. 2003) (explaining that the two-tiered approach is a “suggestion, not a
requirement”) (citation omitted). During the initial “notice” stage, courts determine whether they should
conditionally certify a class and permit notice to be sent to potential class members lipp, 252 F.3d at
1218; Moonev v. Aramco Servs. Co., 54 F.3d 1207, 1214 (5th Cir. 1995). A conditional certification at
the notice stage is not, however, a determination on the merits of the plaintiffs’ claims which may be
challenged after further discovery. Grayson v. K Mart Col_'p., 79 F.3d 1086, 1096 n.12 (l lth Cir. 1996).
The second “decertification” stage, which generally occurs after discovery is complete, involves a more
rigorous factual determination of whether the potential plaintiffs are actually “similarly situated” after the

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situated” with respect to their job requirements and with regard to their pay provisions”’ White

v. Osmose lnc., 204 F. Supp. 2d 1309, 1312 (M.D. Ala. 2002) (quoting Dybach v. Florida Dep’t

 

of Corrections 942 F.2d 1562, 1567-68 (1 lth Cir. 1991)); see also Home, 279 F. Supp. 2d at
1234. This preliminary inquiry is necessary, because “courts, as well as practicing attomeys
have a responsibility to avoid the ‘stirring up’ of litigation through unwarranted solicitation.”

Severtson v. Phillips Bev. Co., 137 F.R.D. 264, 266-67 (D. Minn. 1991) (emphasis added); g

 

M Ehl_'t_;e_, 204 F. Supp. 2d at 1318; Brooks v. BellSouth Telecomms. lnc., 164 F.R.D. 561, 567
(N.D. Ala. 1995), M, 114 F.3d 1202 (1 lth Cir. 1997). Further, “an employer should not be
unduly burdened by a B‘ivolous fishing expedition conducted by plaintiff at the employer’s
expense.” D’Anna v. M/A-COM. Inc., 903 F. Supp. 889, 894 (D. Md. 1995). The record
evidence fails to establish either of the prerequisites to conditional certification Rather, it
demonstrates that the Court would face individual claims requiring fact-specific determinations
relating to the hodge-podge of job duties performed by each Plaintiff and potential opt-in.

The conditional certification decision is generally made early in the litigation process
prior to extensive discovery, using a “fairly lenient” standard S£,§gM M, 79 F. 3d at
1097. The rationale for applying a “fairly lenient” standard at the conditional certification stage
is that during the “early stages of litigation, plaintiffs have not had time to conduct discovery and
marshal their best evidence.” Davis v. Charoen Pokphand (USA), lnc., 303 F. Supp. 2d 1272,
1276 (M.D. Ala. 2004). Once plaintiffs have had an opportunity to conduct discovery
concerning a defendant’s policies and procedures the rationale, corresponding need for, and

application of the more lenient standard is no longer applicable E.; see also White, 204 F.

 

court has information from the discovery process lf the court finds a lack of similarity at this stage, it
will decertify the collective action and the original named plaintiffs will proceed to trial with only their
individual claims lipp, 252 F.3d at 1218. Although this matter is currently at the notice stage, the
extensive discovery conducted to date demonstrates that collective treatment is not warranted

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Supp. 2d at 1310 n.2 (fmding “lenient standard” inapplicable after extensive discovery and
“carefully considering the submissions of the parties with respect to the class allegations rather
than merely relying on the handful of affidavits that support [plaintiffs’ position]”); Morisky v.

Public Serv. E&G Co., 111 F. Supp. 2d 493, 498-99 (D.N.J. 2000); Brooks, 164 F.R.D. at 568-

 

69 (requiring more than a “fairly lenient standard” after three months of discovery).

Although Plaintiffs correctly note that in some cases plaintiffs may carry their burden of
proof with only allegations in their complaint and declaration, g Plaintiffs’ brief at 18, this case
is in a dramatically different posture, and “a more searching standard of review is appropriate.”
§§ M§, 303 F. Supp. 2d at 1276. The parties have conducted six months of discovery.
Specifically, Plaintiffs have conducted extensive discovery regarding, among other things
Defendant’s policies and practices Plaintiffs served, and Defendants responded to, two sets of
interrogatories and four sets of requests for production of documents §_e§ Plaintiffs’ written
discovery requests and Defendant’s responses thereto, Exhibits 59 through 62. Defendants have
produced more than seven thousand (7,000) pages of documents Plaintiffs deposed Defendant’s
corporate representative(s) (a total of five witnesses), pursuant to Fed. R. Civ. P. 30(b)(6), over a
three-day period regarding topics including the job duties of Store Managers Assistant
Managers and Shift Supervisors and “hiring, discipline and termination policies.”37 §
Plaintiffs’ Notice of Rule 30(b)(6) Deposition and Defendants’ Obj ections and Responses
thereto, Exhibits 59 and 60, respectively. Plaintiffs have enjoyed more than an ample
opportunity to conduct discovery into Defendant’s policies and practices Although Plaintiffs
clearly prefer that the Court not analyze the facts and abundant deposition testimony in the case,

the Court should not apply the lenient pre-discovery standard in light of this extensive discovery.

 

37 Defendant served written discovery requests on each Plaintiff and has deposed each Plaintiff, except
Marty Cooper, who apparently no longer wishes to participate in this action and whose claims are the
subject of a Motion to Dismiss.

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At this point in the litigation, Plaintiffs are required to marshal their evidence or concede the
evidence does not fit their broad, vague and over-simplified theory of the case. As demonstrated
herein, Plaintiffs’ form declarations which are directly contradicted by their deposition
testimony, and the absence of any compelling evidence fail to carry the day.38
B. PLAINTIFFS HAVE NOT CARRIED THEIR BURDEN OF PROOF TO
DEMONSTRATE SIMILARLY SITUATED EMPLOYEES SEEK TO
OPT IN
The first inquiry in granting conditional certification is “whether plaintiffs have shown
that other employees dLire to opt into this litigation.” Da_vis, 303 F. Supp. 2d at 1276 (emphasis
added). Plaintiffs bear the burden of demonstrating a reasonable basis for crediting the assertion
that aggrieved individuals exist in the class they propose. §§ Marsh v. Butler Countv School
§y_s_., 242 F. Supp. 2d 1086, 1091 (M.D. Ala. 2002) (citing M, 696 F.2d at 887). Plaintiffs
have confused their burden and assert that they need to prove only that other allegedly similarly
situated employees “M desire to opt in.” § Plaintiffs’ brief at 20-21. Nevertheless, “[c]ourts

have been clear that a plaintiffs mere stated belief in the existence of other employees who

desire to opt in is insufficient,” Horne, 279 F. Supp. 2d at 1236, and that “unsupported

 

expectations that additional plaintiffs will subsequently come forward” are also insufficient
Mackenzie v. Kindred Hosps. East, 276 F. Supp. 2d 1211, 1220 (M.D. Fla. 2003). “[P]laintiffs
must introduce more than their own statements that other potential class members exist.” M,
303 F. Supp. 2d at 1276 (citing M, 279 F. Supp. 2d at 1236).

Plaintiffs seek conditional certification on a wing and a prayer that other employees in the

purported class they seek to represent “may” be interested in opting into this litigation. §

 

38 Even if Plaintiffs’ form declarations provided sufficient evidence to demonstrate that some Store
Managers and Assistant Managers are similarly situated, those declarations come from individuals in only
two limited geographic areas (Southem Alabama and Southem Mississippi). Those two areas are located
in only two Districts which are both in one Region. As discussed below, Plaintiffs’ evidence is far from
sufficient to justify nationwide notice,

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Plaintiffs’ Brief at 20. Despite extensive efforts to recruit and solicit current and former Store
Managers and Assistant Managers to participate in the purported collective action, the four
original Plaintiffs have been unable to identify any meaningful number of potential class
members who desire to opt into this litigation.39 Only a total of eleven employees40 (including
the original four Plaintiffs) have expressed a desire to participate in this action. The former
Assistant Managers who have expressed a desire to participate in this case (Plaintiff Morris an
original Plaintiff, and two Plaintiffs who were added by amendment, Walker and Hartzog (who
was also a Store Manager)) worked in five stores in two districts and cannot support notice to
more than 6,000 Assistant Managers in twenty-eight (28) states Similarly, the seven Store
Managers identified by Plaintiffs are insufficient to carry their burden of proof as to justify
notice to more than 6,000 Store Managers in twenty-eight (28) states Compare Ha_rper v.

Lovett’s Buffet lnc., 185 F.R.D. 358, 364 (M.D. Ala. 1999) (finding sufficient showing for

 

notice to employees in one location when the seven named plaintiffs produced twenty-one

affidavits of hourly wage employees of a single restaurant); Reed, 246 F. Supp. 2d at 1231 (court

 

39 Plaintiffs Pittman and Hartzog saw advertisements in Mississippi newspapers (a Jackson paper and the
Clarian Ledger) requesting that Store Managers and Assistant Managers interested in suing Rite Aid call
Plaintiffs’ counsel. Pittman dep. at 255-57; Hartzog dep. at 317. Plaintiff Smith was approached by
Plaintiff Holt and solicited to become involved Holt dep. at 162-63. Plaintiff Morris was contacted
directly by Plaintiffs’ counsel, Johnnie Smith, and asked if she would like to become involved Smith
dep. at 192-93. Defendant has requested in Written discovery that Plaintiffs produce information relating
to their efforts to solicit clients through the media and otherwise, and to provide, among other things
information concerning the number of people who have indicated that they do not wish to participate §ee
Plaintiffs’ Responses to Defendants’ First Set of Global hiterrogatories and Requests for Production,
Exhibit 63. Plaintiffs have objected and refiised to produce the requested information and documents Li.
Plaintiffs’ refusal to produce this information will be the subject of a motion to compel should any class
be conditionally certified

40 There are four original Plaintiffs (three Store Managers and one Assistant Manager) and seven opt-ins
(six Store Managers one of whom was an Assistant Manager for a short period of time, and one Assistant
Manager). One of those eleven (11) people - Plaintiff Marty Cooper - has now effectively abandoned his
case. Plaintiff Cooper’s claims are currently the subject of a Motion to Dismiss for failure to respond to
written discovery or appear to be deposed Plaintiff Cooper’s abandonment of the case reveals his
disinterest in proceeding with this litigation and leaves Plaintiff with only ten (10) employees (nine of
whom are former employees) who have expressed any interest in participating in this litigation.

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found sufficient evidence that other employees wished to opt-in where plaintiffs produced over
eighty (80) opt-irl consent forms); with H&R Block v. Housden, 186 F.R.D. 399, 400 (E.D. Tex.
1999) (unsupported allegations of widespread FLSA violations by two plaintiffs insufficient).

Moreover, Plaintiffs submit testimony from only six of the eleven individuals who have
expressed a desire to participate in this 1awsuit,41 and Plaintiffs’ testimony demonstrates that
their former co-workers do not want to participate Plaintiffs Holt, Pittman, and Gawor testified
that they spoke with potential class members who declined to participate Holt dep. at 166-68;
Pittman dep. at 260; Gawor dep. at 265. Other Plaintiffs have testified that they are not aware of
any other employees who have expressed an interest to participate in this lawsuit. Hartzog dep.
at 311-12; Morris dep. at 195.

By failing to meet this initial burden, Plaintiffs fail to demonstrate any basis for the Court
to permit this litigation to proceed as a collective action. The Court should therefore deny
Plaintiffs’ Motion.

C. PLAINTIFFS ARE NOT SIMILARLY SITUATED TO ONE ANOTHER,

LET ALONE A CLASS OF THOUSANDS OF FORMER AND CURRENT
STORE MANAGERS AND ASSlSTANT MANAGERS

An equally glaring defect in Plaintiffs’ motion for conditional certification is Plaintiffs’
inability to demonstrate that other Rite Aid Store Managers and Assistant Managers are similarly
situated to them within the meaning of Section 216(b). Not only have Plaintiffs failed to
establish that the other employees in the sought class are similarly situated, Plaintiffs are not

similarly situated to one another.

 

41 Plaintiffs filed Consent to Become Party Plaintiff forms from three individuals who allegedly work or
worked as Store Managers However, Plaintiffs present no evidence from these individuals upon which
the Court could determine they are similarly situated to Plaintiffs

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1. Plaintiffs’ Burden Of Proof And The Applicable Standard Of' Review
Plaintiffs bear the burden of demonstrating that they and other employees in the

purported class are similarly situated S_ee Marsh, 242 F. Supp. 2d at 1091; see also Haynes, 696

 

F.2d at 887;§1<_)_@, 279 F. Supp. 2d at 1234; _H_a_rj§', 185 F.R.D. at 362. Plaintiffs must submit
evidence establishing at least a colorable basis to support their claim that a class of similarly
situated plaintiffs exists Mk§, 164 F.R.D. at 567.
a. Methods of proving other employees are similarly situated
This Court has recognized two means by which plaintiffs who seek conditional
certification of an FLSA collective action may meet their burden of proof With respect to the

similarly situated requirement §§e_ Barron v. Henrv Countv School Svs., 242 F. Supp. 2d 1096,

 

1103 (M.D. Ala. 2003); M, 242 F. Supp. 2d at 1092. lnitially, plaintiffs may carry their
burden of proof by demonstrating that a defendant had some particular uniform common policy,
plan, or scheme that created a pattern and practice of alleged violations § M, 242 F.
Supp. 2d at 1104; see also Hoffmann v. Sbarro, lnc., 982 F. Supp. 249, 261 (S.D.N.Y. 1997)
(requiring a ‘]‘actual showing sufficient to demonstrate that they and potential plaintiffs together
were victims of a common policy or plan that violated the law”) (emphasis added); Heagney v.
European Am. Bank, 122 F.R.D. 125, 127 (E.D.N.Y. 1988). “While plaintiffs certainly are not
required to prove by a preponderance of the evidence a pattern and practice at the notice stage,
because there is no requirement of a motivating discriminating animus in an FLSA case [unlike
in an ADEA case], a pattern in such a case must stem from some other formal or informal policy
or practice.” M, 242 F. Supp. 2d at 1104. ln other words an FLSA collective action may

not be brought if it arises from circumstances purely personal to the named plaintiffs rather than

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from a generally applicable policy or action of the defendant’s. See generally, Brooks, 164
F.R.D. at 569 (“it is clear that any claims of the proposed opt-in plaintiffs would present
disparate factual and employment settings”); Tucker v. Labor Leasing, lnc., 872 F. Supp. 941,
947-49 (M.D. Fla. 1994) (requiring common policy); Burt v. Manville Sales Corp., 116 F.R.D.
276, 277 (D. Colo. 1987).
lf plaintiffs proceed under a pattern and practice theory, they “must prove that the

discrimination was the company’s standard operating procedure.” Marsh, 242 F. Supp. 2d at
1093. To meet this burden, a plaintiff must do more than prove the occurrence of isolated or
sporadic discriminatory acts lit (citing Hipp, 252 F.3d at 1227-28).

[T]he mere fact that [alleged] violations occurred cannot be enough to

establish similarity, as that would not ultimately be sufficient to

establish a pattern and practice without a showing that the violations

were more than sporadic occurrences To conclude otherwise, that is

to conclude that it is enough to demonstrate that employees are

similarly situated simply to say that they claim violations of the law by

the same employer, would be to conclude that any time an employer

had two or more employees who allegedly were not being paid the

overtime they claimed they were due, the employees would be

similarly situated and be allowed to proceed with a collective action.
Barron, 242 F. Supp. 2d at 1104 (footnote omitted). “[T]he remedy in § 216(b) is an attempt by
Congress to balance the competing policies of strict enforcement of the statutory objective of
insuring minimally acceptable pay levels and the avoidance of economic disruption of
unanticipated liabilities lt seems to this court that allowing collective actions to proceed based
solely upon the mere fact that more than one employee complains of having been denied
overtime, without an identification of some policy, would upset this balance.” Barron, 242 F.
Supp. 2d at 1103 n.4 (citing Lerwill v. lnflight Motion Pictures lnc., 343 F. Supp. 1027, 1029
(N.D. Cal. 1972)); see also Mielke v. Laidlaw Transit, lnc., No. 00-C-669, 2004 WL 443985, at

*3 (N.D. lll. Mar. 4, 2004) (recognizing that absent a uniform policy or decision, “the individuals

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in Plaintiffs’ proposed collective action have disparate factual and employment settings”). ln
l_lM, 185 F.R.D. at 364, for example, this Court found evidence that a discrete group of
employees in a single restaurant were similarly situated based on an alleged pattern of violations
caused by two of the employer’s policies: (1) requiring servers to perform additional tasks
outside of their job requirements and (2) management employees clocking out workers without
authorization. _C__f. Ma_r_sh, 242 F. Supp. 2d at 1094 (allegations that violations were caused by a
“policy of knowingly and purposefully failing to pay overtime wages” were insufficient to
establish employees were similarly situated).

Plaintiffs may also establish that other employees are similarly situated “without pointing
to a particular plan or policy.” M, 242 F. Supp. 2d at 1103. To do so, however, Plaintiffs
must make some “rudimentary showing of commonality between the basis for [their] claims and
that of the potential claims of the proposed class beyond the mere facts of j ob duties and pay
provisions because without such a requirement it is doubtfill that § 216(b) would fllrther the
interests of judicial economy, and it would undoubtedly present a ready opportunity for abuse.”

Horne, 279 F. Supp. 2d at 1234 (citing White, 204 F. Supp. 2d at 1309); Barron, 242 F. Supp. 2d

 

at 1103; Marsh, 242 F. Supp. 2d at 1093. “[S]ome identifiable facts or legal nexus must bind the
claims so that hearing the cases together promotes judicial efficiency.” Barron, 242 F. Supp. 2d
at 1103 (citing Shef`field v. Orius Co;p. 211 F.R.D. 411, 416 (D. Or. 2002)).

b. Plaintiffs fail to demonstrate a uniform policy, plan or scheme
that created a pattern or practice of alleged violations

Plaintiffs do not identify any common formal or even informal policy or procedure that
caused the alleged violations Rather, Plaintiffs seek to send notice to Store Managers and
Assistant Managers “who were subject to Rite Aid’s uniform policy of not paying overtime

compensation.” § Plaintiffs’ Brief at 2. Plaintiffs’ brief discussion (two lines) and vague

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allegations that their store budgets were too low to permit non-exempt employees to work
enough hours to perform all the necessary non-management tasks and that non-exempt
employees were not permitted to work overtime are not sufficient evidence of a common policy,
plan or scheme. &_e Plaintiffs’ Brief at 8-9. These allegations even if true, do not establish a
policy, plan or scheme that caused the alleged violations The critical issue remains whether the
job duties Plaintiffs allegedly performed were similar, ii, the Court must still analyze each
Plaintiffs’ job duties and compare them to the individual job duties of each Store Manager and
Assistant Manager to determine if they are in fact similar.

Rite Aid’s store level labor budgets are fully adequate to allow Store Managers and
Assistant Managers to staff their stores so that they can perform their managerial functions42
Panzer dec. at 11 9. Plaintiffs admit that store budgets vary and are set store-by-store. Morris
dep. at 112-13, 345-46; Pittman dep. at 111-12; Gawor dep. at 112;&;11§(_) Panzer dep. at 95;
Markley dep. at 20-21, 27. Labor plans (the number of hours that can be assigned to a store in a
given month or the dollar amount allocated for staffing a store for the month) are developed once
a year and are based on each individual store; the budget takes into account every employee in
the store and employees’ individual pay rates Silsby dep. at 39-40. The labor plan for any
particular store, which is part of the store’s overall profit and loss budget, is established by the

Store Manager, the District Manager, and the Regional Vice President, up to the Division and

then up to corporate. Panzer dep. at 95. The labor plan takes into account the guidelines of the

 

42 The record evidence also demonstrates that the manner in which store budgets were set changed during
the relevant period Prior to the implementation of Staffworks store budgets were usually set by the
Store Managers and District Managers using various methods depending on the District where the store
was located Panzer dec. at 11 10. District Managers, in consultation with Store Managers determined the
store budget, including the labor budget, for each of the stores within their Districts. The manner in
which and factors used by each District Manager to establish the budgets for stores within their Districts
varied Panzer dec. at 10.

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store’s attributes and staffing levels required for each individual store.43 Panzer dep. at 95.
Compliance with a store’s payroll budget is not measured by individual labor hours used Silsby
dep. at 65-67. Store Managers have discretion to use more or fewer hours than their allotted
payroll budget for business necessity. E. at 32-33; Markley dep. at 40-41.

Even if Plaintiffs could somehow assert that their budgets created a common plan that
created violations they do not allege that the store budgets are the sole cause of any alleged
violations S£,gg:, H_or_r_l_e, 279 F. Supp. 2d at 1235 (plaintiff’s allegations concerning
production goals requiring him to work overtime did not establish pattern or practice because
production goals were not alleged to be sole cause of violations). Accordingly, Plaintiffs cannot
demonstrate that they sustained an injury from one alleged, but not proven, common policy.

Similarly, Plaintiffs claims regarding their alleged inability to use overtime, even if true,
fail to even suggest an unlawful policy. M Rav v. Motel 6 Operating LP, No. 3-95-828, 1996
WL 938231, at *4 (D. Minn. Mar. 18, 1996) (“[l]n that [plaintiff`s] also allege that budget plans
demonstrate a need for improper overtime, it is notable that the budgetary plans differ according
to region and property. The evidence does not indicate that all the [plaintiffs] sustained injury
fi'om one unlawful policy.”). ln particular, Plaintiffs grossly rnischaracterize the testimony
regarding use of overtime. Contrary to Plaintiffs’ assertions Mark Panzer and Bob Silsby both
testified that non-exempt employees were permitted to work overtime at the Store Manager or
Assistant Manager’s discretion. Panzer dep. at 196-97; Silsby dep. at 32-33. Moreover,
Plaintiffs admit that although overtime was discouraged, Company policy did not prohibit it.

Hartzog dep. at 267; Pittman dep. at 233-34 (District Manager approved overtime for Shift

 

43 Plaintiffs falsely imply that Defendant has performed studies regarding the job duties performed by
individuals holding particular positions and applied them to all individuals in similar positions w
Plaintiffs Brief at 6. Defendant conducted observations regarding the time needed to complete specific
manual tasks such as placing items on shelves Markley dep. at l4-15. The observations were not job
specific and did not include management tasks such as those performed by Plaintiffs M. at 10.

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Supervisor). lf any Store Manager or Assistant Manager Plaintiffs were prohibited from using
overtime, it was unique to individual District Managers who supervised them. §e§ Plaintiffs’
Declarations at 11 4; Gawor dep. at 432 (unidentified District Manager told her employees were
not pemlitted to work overtime). There is no evidence of a Company-wide policy that prevents
the use of overtime, and Plaintiffs carmot establish that notice should be issued on the basis of
alleged policies unique to their supervisors _Sie mn__e_, 279 F. Supp. 2d at 1236. Similarly,
Plaintiffs’ allegation that they would be reprimanded if they exceeded their budgets is not
supported by the record evidence and is not Company policy. Panzer dep. at 196-99.
Accordingly, to the extent that there is any validity to this allegation, it is unique to Plaintiffs’
individual work experiences

c. Plaintiffs’ and the potential opt-ins’ fact-specific claims would
not further judicial economy

Plaintiffs also fail to demonstrate a common legal or factual nexus between the basis for
their claims and the claims of the proposed class beyond the mere facts of job duties and pay
provisions such that the proposed collective action would further the interests of
judicial economy and efficiency. lndeed, Plaintiffs do not clearly define or articulate how they
are allegedly similarly situated to the more than twelve thousand (12,000) Store Managers and
Assistant Managers in twenty-eight (28) states whom they seek to send notice.

Although far from a model of clarity, it appears that Plaintiffs’ sole argument is that
because they are classified as exempt, allegedly performed a hodge-podge of job duties and the
“maj ority” of their job duties were allegedly non-managerial, other Store Managers and Assistant
Managers must be similarly situated § Plaintiffs’ Brief at 6, 9. Once the smoke and mirrors
are removed, Plaintiffs’ theory is ultimately based on nothing more than an allegation that all

Store Managers and Assistant Managers perform similar job duties Plaintiffs have not presented

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even a “rudimentary showing of commonality” between their claims and those of the potential
class members Their theory requires individualized analysis of the job duties performed by each
Store Manager and Assistant Manager and would result in fact-intensive inquiries that are not
proper for collective treatment

d. Plaintiffs are not similarly situated to other Store Managers and
Assistant Managers

On its face, Plaintiffs’ theory of liability requires a factual analysis of each Plaintiff s job
duties to determine whether an alleged violation exists Plaintiffs’ theory requires the Court to
make a leap of faith and conclude that because Plaintiffs allegedly spent more than fifty percent
(50%) of their time of performing “non-managerial” duties all Store Managers and Assistant
Managers in twenty-eight (28) states must also do so. Plaintiffs’ theory fails to establish even a
rudimentary common factual or legal nexus between their claims and those of the potential class
members The necessary factual inquiry to determine this initial element of their claims requires
the Court to consider, at a minimum, the following: (1) the actual job duties performed by each
individual Store Manager and/or Assistant Manager on a daily, weekly, and monthly basis; (2)
the amount of time spent by each individual on each identified job duty; (3) whether each job
duty performed is managerial or non-managerial;44 and (4) the total percentage of time spent
performing managerial, as opposed to non-managerial, duties Burying the Court in these highly
individualized factual inquiries does not further the interest of judicial economy and is

incompatible with the community of interest requirement for collective treatment

 

44 Although Plaintiffs gloss over this issue and imply that it is always a straightforward inquiry, nothing
could be filrther from the truth. Many Plaintiffs testified that they often performed duties that would
normally be considered non-managerial while training employees and leading by example, that is
showing their employees that they were willing to perform any job they would ask their employees to
perform. w Smith dep. at 145, 148 (stating she got employees to work by working with them); Holt
dep. at 210 (led employees by example); se_e Ls_o Section ll, D, 6 gm at p. 16-17. Even purportedly
non-managerial tasks can be managerial tasks if performed to train or lead employees

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Plaintiffs are not challenging Defendant’s determination that the Store Manager and
Assistant Manager positions (if performed as specified in the job descriptions and other company
docurnents) are exempt under the FLSA. Rather, they seek a determination that the specific job
duties individual Store Managers and Assistant Managers performed rendered them non-exempt
employees Although Plaintiffs implicitly assert otherwise, under their theory, the proper inquiry
is not whether a particular “j ob” category (;g, Store Manager) is exempt or non-exempt

The regulations specifically provide that “the exempt or non-exempt status of any
particular employee must be determined on the basis of whether his duties responsibilities and
salary meet all the requirements of the appropriate section of the regulations....” 29 C.F.R.

§ 542.201(b)(2). Thus, “[t]o determine Which employees are entitled to overtime compensation
under the FLSA depends on an individual, fact-specific analysis of each employee’s job
responsibilities under the relevant statutory exemption criteria.” M)_r_i$y, 111 F. Supp. 2d at
498; see also Ale v. Tennessee Vallev Auth., 269 F.3d 680, 689 (6th Cir. 2001) (determination of
whether a group of employees is exempt or non-exempt based on the types of tasks performed
requires the court to focus on the relevant exemption and each employee’s actual job duties);
Anderson v. Citv of Cleveland, 90 F. Supp. 2d 906, 916-17 (E.D. Tenn. 2000) (“the character,
type, and extent of activities and duties performed by employees plays the primary role in any
decision regarding the applicability of the exemption”); Mike v. Safeco lns. Co. of Am., 274 F.
Supp. 2d 216, 220 (D. Conn. 2003) (“Determining whether an employee is exempt is extremely
individual and fact-intensive, requiring ‘a detailed analysis of the time spent performing
administrative duties’ and ‘a careful factual analysis of the full range of the employee’s job
duties and responsibilities.”’) (quoting Cooke v. General Dynamics Co;p., 993 F. Supp. 56, 59-

61 (D. Conn. 1997). lf the ultimate issue to be determined is whether each employee was

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properly classified as exempt, the “similarly situated” requirement in this case must be analyzed
in terms of the nature of the job duties performed by each potential class member. Plaintiffs
cannot carry their burden of proof by relying on their own testimony that they performed
different job duties for varying amounts of time that are alleged to be non-exempt

i. Plaintiffs’ purported FLSA violation cannot
possibly be considered collectively

Employees “employed in a bona fide executive capacity” are exempt from the FLSA’s
overtime provisions §§ 29 U.S.C. § 213(a)(1). The Departrnent of Labor regulations set forth
both a “short” and a “long” test for determining whether an employee falls within the executive
exemption. § 29 C.F.R. 541 .19(a). The short test is used for professional employees who are
compensated at a rate of at least $250 per week. lt is undisputed Rite Aid’s Store Managers and
Assistant Managers earn more than S250 per week. Accordingly, the short test is the proper
method for evaluating whether Plaintiffs are properly classified as exempt professionals To
satisfy the short test, the employee must:

¢ Receive a salary of at least $250 weekly; and

0 Have the primary duty of managing the enterprise, departrnent, or subdivision of the
company Ld customarily and regularly direct the work of two or more employees

29 C.F.R. § 541.119(a) (emphasis added).

Plaintiffs do not dispute that they regularly supervise two or more employees45

Accordingly, the only issue presented is whether management is Plaintiffs’ “primary duty.”46

 

45 Plaintiffs assert, with no evidentiary support, that Pharmacists “oversee the Pharmacy and its
employees.” §§ Plaintiffs’ Brief at 4 n.5. The record evidence demonstrates that, in addition to
supervising front-end employees (Cashiers and Shift Supervisors), Rite Aid’s Store Managers and
Assistant Managers also supervise pharmacy employees Walker dep. at 15 5-56, 199 (had supervisory and
disciplinary authority over pharmacy personnel); Hartzog dep. at 119-20, 125-26, 205, 217-18
(interviewed, supervised and disciplined pharmacy personnel); Morris dep. at 221 (had authority to
discipline pharmacy employees for not following rules). Accordingly, there is no legitimate dispute that

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Plaintiffs have presented no evidence that demonstrates they, much less the potential class
members were subjected to a violation of the FLSA.47 Plaintiffs seek to certify a nationwide
purported collective action without even alleging (and in no way substantiating) that Rite Aid has
committed a violation of the FLSA that could possibly be common to all putative class members
They ultimately assert only that they performed non-managerial tasks more than fifty percent
(50%) of the time and list a few job duties they allegedly did not perform. Plaintiffs’ claims
even if true, do not establish a violation of the FLSA.

Numerous courts have held that Store Managers in retail settings are exempt even if they
perform non-managerial work. Murrav v. Stuckev’s Inc.. 939 F.2d 614, 618 (8th Cir. 1991)
(“Murray I”) (recognizing the fact that a manager spent ninety percent (90%) of his time on non-

managerial duties was “not a controlling factor under the regulations”); see also Thomas v. .l ones

 

Restaurants lnc., 64 F. Supp. 2d 1205 (M.D. Ala. 1999); Murrav v. Stuckev’s lnc., 50 F.3d 564

 

(8th Cir. 1995) (“Murray ll”); Stricker v. Eastern Off Road Equipment, lnc., 935 F. Supp. 650
(D. Md. 1996) (manager of truck and off-road vehicle equipment retail outlet store properly

classified as exempt); Meyer v. Worsley Cos., 881 F. Supp. 1014, 1017-21 (E.D.N.C. 1994)

 

Rite Aid’s Store Managers and Assistant Managers continuously and regularly direct the work of two or
more employees
46 Each Rite Aid store is a distinct entity or division. Although there are common methods of operation,
each store stands on its own. §§_e_ Panzer dec. at 4. _SY Cowan v. Treeton Enters., lnc., 120 F. Supp. 2d
672 (M.D. Tenn. 1999).
47 The relevant Regulation describes “management” duties as follows:

lnterviewing, selecting, and training of employees setting and adjusting their rates of

pay and hours of work; directing their work; maintaining their production or sales

records for use in supervision or control; appraising their productivity and efficiency

for the purpose of recommending promotions or other changes in their status handling

their complaints and grievances and disciplining them when necessary; planning the

work; determining the techniques to be used; apportioning the work among the

workers determining the type of materials supplies machinery or tools to be used or

merchandise to be brought, stocked or sold; controlling the flow and distribution of

materials or merchandise and supplies providing for the safety of the men and the

property.”
29 C.F.R. § 541.102(b).

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(Scottsmen convenience store manager); Sturm v. TOC Retail, lnc., 864 F. Supp. 1346 (1994)
(convenience store manager “in charge” and thus exempt; percentage of time spent performing
non-managerial tasks is irrelevant in convenience store (retail) setting); Glefke v. KFC Take
Horne Food Co., No. 92-74371, 1993 WL 521993, at **4-5 (E.D. Mich. Aug. 27, 1993)
(restaurant manager exempt despite performing non-managerial tasks); Horne v. Crown Cent.

Petroleum lnc., 775 F. Supp. 189 (D.S.C. 1991) (manager of convenience store properly

 

classified as exempt); Donovan v. Waffle House, lnc., No. C81-609A, 1983 WL 2108, at *8-9
(M.D. Ga. Sep. 26, 1983).
Similarly, numerous courts have held that Assistant Managers in retail settings are

exempt even if they perform non-managerial work. §§ ln re Food Lion lnc., No. 94-2360,

 

1998 WL 322682 (4th Cir. Jun. 4, 1998) (per curiam) (holding assistant manager who was in
sole charge of store for about one-half of his working hours was exempt even though the
assistant manager spent some time performing non-exempt duties such as stocking the shelves
and unloading grocery trucks also noting that the fact that some non-exempt employees
performed some managerial functions did not destroy exemption); Donovan v. Burger King
m, 675 F.2d 516, 521 (2d Cir. 1982) (“Burger King ll”) (finding that assistant managers Who
spent the majority of their time performing the same work as hourly employees were
nevertheless exempt; “the person ‘in charge’ of a store has management as his primary duty,
even though he spends the majority of his time on non-exempt work and makes few significant
decisions”); Donovan v. Burger King Corp., 672 F.2d 221, 227-28 (lst Cir. 1982) (“Burger King
l”); Masilionis v. Fallev’s lnc., 904 F. Supp. 1224, 1229-30 (D. Kan. 1995) (produce manager of
a grocery store properly classified as exempt); Palazzolo-Robinson v. Sharis Mg;nt. Co;p. , 68 F.

Supp. 2d 1186, 1190 (W.D. Wash. 1999) (holding primary duty of employee, as assistant

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manager and later manager of restaurant was management making her an exempt employee
under the FLSA, where “[i]n spite of the time plaintiff attributes to performing non-managerial
tasks in the position of assistant manager as well as in the position of general manager, the
plaintiff admits that she ‘never stop[ped] being in charge of the facility”’).

ln any event the FLSA regulations make it clear that the issue of whether a particular
employee or group of employees has management functions as a primary duty, must be
determined based on an individual fact-intensive inquiry. lndeed, Plaintiffs concede that the
correct analysis requires a case-by-case examination of the actual work performed by each
individual to determine whether the individual performing those specific duties meets the test for
exemption. § Plaintiffs’ Brief at 21 n.42.

ii. Determining the percentage of time spent
performing non-managerial job duties is fact
intensive and not dispositive

With respect to the percentage of time Store Managers and Assistant Managers perform
non-managerial functions the competent evidence of record demonstrates that the actual job
duties performed and the time allotted to each such job duty varies dramatically Plaintiff-to-

Plaintiff and store-by-store.48 The discretion permitted each Store Manager (by his or her

District Manager) and each Assistant Manager (by his or her Store Manager) also varies

 

43 ln their responses to Defendant’s First lnterrogatories (No. 4), Plaintiffs identified job duties they
performed and estimates as to the amount of time they spent performing these tasks A brief review of
Plaintiffs’ responses to this lnterrogatory demonstrates wide variation in even the alleged non-managerial
job duties Plaintiffs performed, and the time spent performing them. Compare Plaintiffs Smith’s
Gawor’s and Holt’s response to lnterrogatory No. 4, Exhibits 64, 65 and 66. Moreover, their declarations
demonstrate wide variations in the time they allegedly spent performing non-managerial tasks Compare
Gawor dec. at 11 5 (“I spent in excess of 50% of my time performing the same job duties as hourly
employees ...”) M Holt dec. at 11 5 (“l spent in excess of 50% of my time (in fact approximately 80-
95% of my time) performing the same job duties as hourly employees....”).

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drastically not only by store, but over time and by the qualification and skill levels of various
employees.49 §§ Sections II, C, 1-2, M at p. 8-9.

Moreover, Defendant has presented declarations from thirteen Store Managers and nine
Assistant Managers (more than three times as many witnesses as Plaintiffs), all of whom work in
the same general geographic areas as Plaintiffs (some in the same stores Plaintiffs used to work).
All admit they are in charge of their stores spend substantially more than fifty percent (50%) of
their time performing managerial job duties and perform varying job duties for different lengths
of time. § Armstrong dec. at 1111 5-14 (41.5 out of average 50 hour work week performing
managerial duties); Aucoin dec. at 1111 5-15 (45 out of 50 hours); Brogden dec. at 1111 4-15 (39.5
out of 50 hours); Delmore dec. at 1111 5-15 (55 out of 60 hours); Douglas dec. at 1111 5-17 (45 out of
55 hours); Goodwin dec. at 1111 6-18 (35.5 out of 53 hours); Gregory-Smith dec. at 1111 7-14 (42.5
out of 56 hours); Guthrie dec. at 1111 5-13 (32 out of 54 hours); Harbeck dec. at 1111 5-17 (31.5 out
of 51 hours); Humphrey dec. at 1111 5-16 (45 out of 50 hours); B. Johnson dec. at 1111 5-15 (40 out
of 53 hours); L. Johnson dec. at 1111 5-16 (49.5 out of 55); R. Kling dec. at 1111 5-13 (51.5 out of 68
hours); Knox dec. at 1111 6-14 (37.75 out of 55 hours); Langston dec. at 1111 5-16 (40.75 out of 51
hours); Lewis dec. at 1111 6-18 (48.5 out of 58 hours); Norris dec. at 1111 6-17 (45.1 out of 50

hours); D. Owens dec. at 1111 5-15 (42 out of 50 hours); P. Owens dec. at 1111 5-16 (45 out of 51

 

49 Plaintiffs testified, for example, that when a new district manager began supervising a store, their job
duties and the amount of discretion afforded to them changed See, e.g., Gawor dep. at 98 (new District
Manager Greg Wilson did not require Gawor to travel to other stores to help out and demanded that she
complete Daily Tour Sheets on a daily basis); Smith dep. at 353 (new District Manager Greg Wilson was
“harassing” her and in comparison to other District Managers went to extremes to find issues with
Smith’s performance); Morris dep. at 167-68, 253, 292-93 (new District Manager Greg Wilson was more
“nitpicky” than previous District Managers and afforded the Store Manager and Assistant Manager less
discretion with regard to merchandising the store). Due to these variations to determine if a particular
Store Manager or Assistant Manager is exempt the Court must examine the job duties performed by that
individual during each discrete time period during which their job duties remained constant For
example, with regard to Plaintiff Walker, the Court must examine her job duties in each store she worked
because she performed different tasks at each store, § Walker dep. at 153-54 (scheduled employees in
Abbeville, but not Dothan), 161 (job duties varied depending on Store Manager), 190 (Dothan Store
Manager delegated less managerial job duties to Walker than did Abbeville Store Manager).

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hours); V. Reynolds dec. at 1111 8-19 (43 out of 55 hours); T. Ryals dec. at 1111 5-16 (41 out of 51
hours); L. Watson dec. at 11 4-15 (42 out of 50 hours). Moreover, they all admit that when they
were performing job tasks that could be deemed non-managerial in nature, they continued to
supervise all subordinate store employees lil.

lt is virtually impossible to conclude, as Plaintiffs suggest that determining the
percentage of time Store Managers and Assistant Managers spend performing their varied job
duties could provide a common factual or legal nexus justifying collective treatment
Nevertheless for the sake of argument assuming Plaintiffs could somehow offer sufficient proof
of the specific job duties each Store Manager and Assistant Manager performed, the Court would
still have to consider the fact-specific issues of whether each such job duty is managerial or non-
managerial, the amount of time spent on each job duty, and the ultimate percentage of time spent
on non-managerial job duties

Even if the determination of the amount of time spent performing certain types of j ob
duties was subject to collective treatment, concluding that an employee who is classified as
exempt under the executive exemption spent more than fifty percent (50%) of his or her time

performing non-managerial functions does not establish a violation of the FLSA.50 The FLSA

 

511 lt is unreasonable to conclude that the executive exemption fails “merely because the proportion of time
spent on exempt managerial tasks is less than fifty percent where, as here, managerial duties are
packaged in employment with non-managerial tasks and the management function cannot readily and
economically be separated from the nonexempt task.” Baldwin v. Trailer lnns lnc., 266 F.3d 1104, 1114
(9th Cir. 2001). Rather, an “employee’s primary duty is usually what she does that is of principal value to
the employer, not the collateral tasks that she may also perform, even if they consume more than half her
time.” Dalheim v. KDFW-TV, 918 F.2d 1220, 1227 (5th Cir. 1990); see also De Jesus Rentas v. Baxter
Pharmacy Servs. Co;p., 286 F. Supp. 2d 235, 241 (D.P.R. 2003) (citing Bohn v. Park Citv Group, lnc., 94
F.3d 1457 (10th Cir. 1996)); Burger King l, 672 F.2d at 227 (holding assistant managers who spent the
majority of their time doing the same labor as hourly employees still had management as their primary
duty; “the person ‘in charge’ of a store has management as his primary duty, even though he spends the
majority of his time on non-exempt work and makes few significant decisions”); Home, 775 F. Supp. at
190 (holding “[t]hat the amount spent on non-management tasks is greater than fifty percent is not
dispositive, particularly when non-management duties are performed simultaneous to the supervision of
employees or other management tasks and other factors support a finding that the employee’s primary

 

 

 

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regulations provide that “time alone is not the sole test and in situations where the employee
does not spend over fifty percent of his time in managerial duties he might nevertheless have
management as his primary duty....” S_ee_ 29 C.F.R. § 541.103; M M, 64 F. Supp. 2d
at 1212-13 (holding restaurant manager’s primary duty was management irrespective of whether
restaurant manager spent more than fifty percent (50%) of her time performing non-managerial
duties).

iii. The pertinent factors other than time are
not subject to collective treatment, and, in
any event, support a conclusion that
Plaintiffs are properly classified as exempt

ln _Th_om_a_s, Judge Thompson recognized that the Departrnent of Labor Regulations
provide for two alternative tests to determine whether an employee has “management” as his or
her “primary duty.” 64 F. Supp. 2d at 1210 (citing 29 C.F.R. § 541.103). First, “if the employee
spends over 50% of his time performing management duties then he has management as his
primary duty.” lil. lf not that does not end the inquiry. l_d_. The Court must then analyze
whether, on balance, the following other pertinent factors support the conclusion that the
employee has management as his or her primary duty: (1) the relative importance of the

managerial duties as compared with other types of duties (2) the frequency with which the

employee exercises discretionary powers (3) his or her relative freedom from supervision; and

 

duty is manageria ”); Burger King lI, 675 F.2d at 520; Murray l, 939 F.2d at 618 (holding that store
managers were responsible for the day-to-day store operations and even though they spent as much as
90% of their time devoted to non-management duties their primary duty was management of the
enterprise); Sturm, 864 F. Supp. at 1353 (concluding that 50% rule of thumb used by the Departrnent of
Labor was not generally applicable with respect to activities of convenience store manager (retail setting)
and concluding that the decision as to whether an employee is exempt or non-exempt will turn in most
cases on whether the employee was “in charge”). Other courts have abandoned the time factor irl the
short test because the number of hours spent doing line-work is not dispositive when the work is done
while simultaneously supervising employees or performing management tasks See, e.g., J ones v.
Virginia Oil Co., No. 02-1631, 2003 WL 21699882 (4th Cir. Jul. 23, 2003) (manager of retail restaurant
was properly classified as exempt executive despite performing non-managerial work).

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(4) the relationship between his or her salary and the wages paid other employees for the kind of
nonexempt work performed by the supervisor. lil. (citing 29 C.F.R. § 541 .103). Reviewing each
of these factors with respect to each potential Plaintiff would not be efficient or manageable
Alternatively, a review of these factors demonstrates that Plaintiffs satisfy them and are properly
classified as exempt
(a) The relative importance of the
managerial duties as compared
with other types of duties

The determination of the relative importance of the managerial duties as compared with
other types of duties performed by Store Managers and Assistant Managers is a fact-intensive
question that weighs against collective treatment The Court will be required to consider the
managerial duties performed by each individual Store Manager and Assistant Manager. Even if
the Court were to conclude that it could make this analysis on a more global basis the record
evidence demonstrates that although the manner in which they perform their duties and fulfill
their responsibilities varies the relative importance of each Store Manager’s and Assistant
Manager’s managerial duties compared to their non-exempt duties supports the exemption.

Although Plaintiffs imply otherwise, and attempt to de-emphasize their responsibilities
multi-million dollar retail outlets do not run themselves Rather, they are run by Store Managers
(and Assistant Managers in the Store Manager’s absence) whose duties are crucial to each store’s
success See generally, Hoim_a_s 64 F. Supp. 2d at 1212; Burger King ll, 675 F.2d at 521. All
Store Manager Plaintiffs acknowledge that they were the highest-ranking employee on site and
were in charge of their stores § Section Il, B, 1, M at p. 3. Similarly, all Assistant

Manager Plaintiffs acknowledge that when their Store Manager was not present (which was the

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vast majority of time Assistant Managers were on duty because of the rotating schedule), they
were in charge of the store, §e_e Section ll, B, 2, M at p. 4-5.

ln Burger King l, 672 F.2d at 226, the First Circuit Court of Appeals stated:

The supervision of other employees is clearly a management duty. The fact that

Burger King has well-defined policies and that tasks are spelled out in great

detail, is insufficient to negate this conclusion. Ensuring that company policies

are carried out constitutes the “very essence of supervisory work” [it] cannot be

denied that the supervisory work of the assistant managers qualifies as

management under the regulations
Here, as in Burger King l, the Store Manager and Assistant Manager Plaintiffs directly
supervised associates and ensured they performed their jobs in accordance with Rite Aid policies
and applicable laws _S_ee Sections Il, B, 1-2, s_um at p. 3-6. Defendant does not dispute that
some of Store Manager and Assistant Manager Plaintiffs performed some job duties that could
be classified as non-managerial. Even when performing such duties however, they did so in a
supervisory, and thus managerial capacity. lil.

ln Mas the Court concluded that the record evidence demonstrated that even though
the plaintiff worked alongside non-exempt employees and performed similar duties to them, she
was ultimately answerable for the restaurant’s performance id at 1206. The court specifically
recognized that plaintiff performed the following job duties: (1) interviewing and hiring
employees (2) setting and adjusting employees’ work schedules (3) directing the work of
subordinate employees (4) disciplining and firing employees (5) handling employee complaints
and grievances (6) maintaining production and sales records (7) determining the work
techniques to be used; (8) apportioning work to employees (9) ensuring that work was done
safely; (10) accounting for inventory and preventing theft; (11) assuring production quality; (12)

doing the work of unexpectedly absent employees (13) balancing the books and making bank

deposits (14) ensuring that receipts matched register sales (15) ensuring that the employees

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maintain the facility; and (16) completing paperwork on a daily basis.31 E. at 1207. Some of
these duties were also performed by other employees however, as the court recognized, plaintiff
was ultimately responsible for the performance of these duties id

Many of Plaintiffs’ daily activities mirrored those described in the regulatory language
and by the court in M. The Store Manager Plaintiffs and the Assistant Manager Plaintiffs
(depending on which Store Manager was in charge), interviewed, selected, disciplined and, when
necessary, terminated employees scheduled employees (including days and hours each would
Work); directed and supervised the work of employees handled employee complaints and
grievances reviewed, prepared and maintained production and sales records assisted and
apportioned work to employees accounted for inventory; balanced the books made bank
deposits ensured that receipts matched register sales ensured that the facility was properly
maintained; completed paperwork; determined when work should be delegated; determined what
work should be delegated; determined how and when to use store resources planned employees’
work on daily tour sheets provided for the safety of customers and employees appraised
employee’s productivity; recommended raises reconlrnended promotions prepared annual
performance evaluations addressed customer complaints took measures to control shrink (theft
and product loss); trained employees checked in vendors and merchandised their stores to

increase sales § Sections ll, D, 1-15, supra at p. 10-24.

 

31 The relevant Regulation describes “management” duties as follows:
lnterviewing, selecting, and training of employees setting and adjusting their rates of pay
and hours of work; directing their work; maintaining their production or sales records for
use in supervision or control; appraising their productivity and efficiency for the purpose
of recommending promotions or other changes in their status handling their complaints
and grievances and disciplining them when necessary; planning the work; determining
the techniques to be used; apportioning the work among the workers determining the
type of materials supplies machinery or tools to be used or merchandise to be brought
stocked or sold; controlling the flow and distribution of materials or merchandise and
supplies providing for the safety of the men and the property. 29 C.F.R. § 541 .102(b).

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Plaintiffs’ assertion that their performance of the same duties as their subordinates was so
substantial as to preclude a finding that management was their primary duty is misplaced Both
the Store Manager and Assistant Manager Plaintiffs were directing the day-to-day activities of
the store even when they were allegedly performing these non-managerial tasks §_ee Section ll,
B, 1-2, saia at p. 3-6. “One can manage while at the same time performing non-exempt tasks
normally assigned to subordinates § SMm_, 864 F. Supp. at 1352 (citing Burger King l, 672
F.2d at 226). The fact that an employee executes both managerial and non-managerial work
tasks normally undertaken by hourly employees does not preclude his qualifying as a bona fide
executive w Burger King ll, 675 F.2d at 516; Burger King l, 672 F.2d at 226-27 (citing M
Darling’s Drug Store, lnc., 388 F. Supp. 877 (W.D. Pa. 1975)). Similarly, Plaintiffs’ argument
that non-exempt employees may have performed managerial tasks is without merit lhat non-
exempt employees performed some managerial tasks does not render those tasks non-exempt
§ M, 266 F.3d at 1115; _sLaISO Murray I, 939 F.2d at 619 (concluding that it was
irrelevant to the primary duty inquiry “whether other employees who reported to the manager
were capable of performing part or even all of the manager’s duties”).

Rather than dispute that they performed the job duties listed above, Plaintiffs counter-
intuitively assert that because they allegedly did not perform certain job functions (such as
changing alarm codes) they must not have been properly classified as exempt First, Plaintiffs’
characterizations are inconsistent with Plaintiffs’ own deposition and affidavit testimony. g
Exhibits 46 through 52. Plaintiffs admitted in their depositions that they actually did perform

many of the job duties they testified in their Declarations they were not permitted to perform.32

 

52 Plaintiffs’ characterization of the job duties necessary to qualify as an exempt employee is ludicrous
F or example, Plaintiffs correctly claim that Store Managers and Assistant Managers are not permitted
unfettered discretion to promote or hire other Assistant Managers or Shift Supervisors Although Store
Managers and sometimes Assistant Managers, interview candidates and provide recommendations

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gee spreadsheets comparing Plaintiffs sworn declarations to their deposition testimony, attached
hereto as Exhibits 46 through 52. The Court should construe the contradictory testimony against
Plaintiffs or strike it from the record § McCormick v. Citv of Ft. Lauderdale, 333 F.3d 1234,
1240 n.7 (1 lth Cir. 2003) (holding in the context of summary judgment affidavit that
contradicted party’s deposition testimony did not create an issue of material fact because it is a
sham which should be disregarded by the court); Rice v. Barne_s_, 149 F. Supp. 2d 1297, 1300
(M.D. Ala. 2001) (striking inherently inconsistent portion of sham affidavit).

To the extent any Store Manager or Assistant Manager fails to spend at least fifty percent
(5 0%) of his or her time performing managerial duties that manager is mis-performing. Such
lack of performance does not eliminate that employee’s exempt status An exempt employee
does not become non-exempt simply because that employee fails to properly perform the
assigned functions of his or her job. w wis 64 F. Supp. 2d at 1211-12 (non-managerial
duties irrelevant to determining restaurant manager’s primary duty when time spent preparing
and serving food was done in defiance of supervisor’s orders); see also Ramirez v. Yosemite
Water Co., 978 P.2d 2, 13-14 (Cal. 1999) (time during which employee is engaged in non-
exempt work because of employee’s own substandard performance should not be considered as
non-managerial time in determining the exempt status of employee). The importance of
Plaintiffs’ managerial tasks in relation to their non-managerial tasks were monumental. Without

them, the stores could not have survived

 

District Managers normally have final authority with respect to hiring and promoting Store Managers
Assistant Managers and Shift Supervisors S_e§ Exhibit 58, Shift Supervisor Promotion Policy. Most
employees in the business and professional worlds do not hire their colleagues or superiors If hiring
management level employees was a requirement of the test for application of the executive exemption,
some CEOs of publicly traded corporations who act subject to the oversight of`, and limitations set by, the
board of directors Would not be classified as an exempt executive employee Plaintiffs had discretion and
authority to hire associates S_e§ Section Il, D, l, s_up[g at p. 10.

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(b) The frequency with which the
employee exercises discretionary
powers

The record evidence indicates that many of Plaintiffs’ managerial tasks ~ including
hiring, disciplining employees setting and adjusting work schedules apportioning work to
employees evaluating the performance of employees recommending raises and promotions and
directing and apportioning work to employees ~ were discretionary. Plaintiffs appear to assert
that because Rite Aid has well-defined policies that spell-out required tasks they did not exercise
discretion. g Plaintiffs’ Brief at 13. Plaintiffs also appear to assert that because they had
District Managers their discretion was circumscribed id at 14. Neither of these assertions has
any merit

Even with the alleged detailed instructions and manuals Plaintiffs claim they received
from Rite Aid, Store Managers and Assistant Managers are required to and do exercise
significant management discretion in operating the stores. This is evidenced by Plaintiffs’ own
deposition testimony. § Section ll, D, 1-15, s_uB at p. 10-24. Moreover, the fact that Rite
Aid has Well-defined policies that spell out management responsibilities is insufficient to negate
the conclusion that supervising employees is a management duty. S_ee_ Burger King l, 672 F.2d
at 226; se_U Burger King ll, 675 F.2d at 521-22 (“The exercise of discretion even where
circumscribed by prior instruction, is as critical to [the company’s] success as adherence to ‘the
book.’ Burger King, of course, seeks to limit likely mistakes in judgment by issuing detailed
guidelines but judgments must still be made.”); Leia_l_so Murray I, 939 F.2d at 619 (“[W]e do
not believe that the local store manager’s job is any less managerial for FLSA purposes simply
because he or she has an active regional manager boss [T]he manager of a local store in a

modern multi-store organization has management as his or her primary duty even though the

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discretion usually associated with management may be limited by the company’s desire for the
standardization and uniformity.”). “Ensuring that company policies are carried out constitutes
the ‘very essence of supervisory work.”’ Burger King l, 672 F.2d at 226 (citation omitted).

Plaintiffs appear to assert that because the District Managers made visits to their store,
their discretion was circumscribed The mere fact that superiors “check in” on retail
establishments is insufficient to disprove exempt status § Cowan, 120 F. Supp. 2d at 690
(citing Murray l, 939 F.2d at 619). In Murray ll, 50 F.3d at 570, the Eighth Circuit stated:

Most if not all nationwide companies with multiple outlets establish standardized

procedures and policies to guide individual store managers This practice may

circumscribe but it does not eliminate the discretion of the on-site manager of an
isolated store who is responsible for day-to-day operations Similarly, active
supervision and periodic visits by a regional manager do not eliminate the day-to-

day discretion of the on-site store manager.

Contrary to their assertions Plaintiffs had the authority to hire and fire employees
determine the work techniques to be used, determine when employees could take vacation time,
recruit employees and check in vendors § Sections Il, D, 1-4, 9, supra at p. 10-16, 18-20.
They were ultimately in charge of the day-to-day operations of their stores § Sections ll, B,

1-2, supra at p. 3-7.

(c) Plaintiffs’ relative freedom from
supervision

That Plaintiffs were free from daily supervision weighs heavily in favor of the exemption.
District Managers visited stores only once or twice a month and provided little other oversight
Although Plaintiffs were required to adhere to Company policies and submit reports they were,
for the great bulk of their working time, in charge of the retail facilities they managed E
Burger King II, 675 F.2d at 522. Similarly, Assistant Managers were, for more than half of the

time they worked, in charge of the retail facility. Although District Managers may have had

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daily contact through e-mail, e-mail transmissions certainly did not eliminate the discretion of
the on-site Store Manager and Assistant Manager. g Murray ll, 50 F.3d at 570 (citing
Donovan v. Waffle House, lnc., 26 Wage & Hour Cas. 868, 874 (N.D. Ga. 1983)); Marshall v.
Sally Beaut\[ Co., No. 80-4138, 1982 WL 2184, at *3 (E.D. La. Apr. 19, 1982). Even ifthere
was any merit to Plaintiffs’ contention that they had little real control or authority over their
stores the fact remains that the Store Manager and Assistant Manager Plaintiffs admit they were
alone and in charge of their stores the vast majority of the time without the physical presence of
any supervisor. MQ Mm_as 64 F. Supp. 2d at 1214 (recognizing that even with a hands-on
manager, the manager was ultimately responsible for the restaurant).

(d) Plaintiffs’ compensation was
substantially higher than hourly
employees

Rite Aid’s salaried Store Managers and Assistant Managers are paid substantially more
than the hourly, non-exempt entry-level Associates and Shift Supervisors they supervise
LeClair dec. at 11 6. Although the rates and ranges of pay for all store employees vary by
geographic area, Assistant Managers normally earn several thousand dollars more per year than

the hourly employees they supervise Iil. Store Managers normally earn several thousand dollars

more per year than the Assistant Managers in the same geographic areas53 lil.

 

53 Specifically, entry-level associates are paid at or near minimum wage and receive incremental increases
above minimum wage on a yearly basis Rite Aid Policies and Procedures Manual, at RAH-01489,
Exhibit 56. Associates promoted to Shift Supervisor normally receive a half-dollar per hour raise. Bailey
dep. at 77. The Store Manager Plaintiffs earned salaries ranging from $28,698.00 to $54,591.00. LeClair
dec. at 11 5 . The Assistant Manager Plaintiffs salaries Were $l9,760.00 and $26,999.00.

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(e) All of these factors suggest
Plaintiffs were properly classified
and confirm individual issues
would predominate
Even if the Court were to conclude that one of these factors favored Plaintiffs “[t]he
presence or absence of any one factor is not determinative; instead, the court must look at the
total picture.” §§ EM, 64 F. Supp. 2d at 1214. All four factors weigh heavily in favor of
concluding that the Store Manager and Assistant Manager Plaintiffs were properly classified as
exempt As demonstrated by their job descriptions management is the primary duty of Rite Aid
Store Managers if they perform their job duties in accordance with company policies and
procedures Assistant Managers who perform their j ob duties and responsibilities in accordance
with Rite Aid’s policies and procedures are also clearly exempt
Moreover, conducting this analysis for each opt-in would not be an efficient use of the
Court’s or the parties’ time and resources Numerous Courts have refiised to certify FLSA
classes requiring individual fact-intensive review and analysis such as that required under
Plaintiffs’ theory, E Morisky, 111 F. Supp. 2d at 498 (denying motion for conditional
certification and notice on the grounds that issue of whether plaintiffs were properly classified as
exempt employees was highly fact-specific and required individual analysis “Even employees

who hold the same job title do not necessarily perform the same work.”); see also Clausman v.

Nortel Networks lnc., No. IP 02-0400, 2003 WL 21314065, at *4 (S.D. Ind. May 1, 2003)

 

(reversing decision to grant notice, explaining: “[l]t is clear that each salesperson operates
differently. lt is precisely because these questions must be answered that the Court cannot
approve notification of potential class members The Court cannot make these inquiries of each

of the unknown number of potential plaintiffs.”); Sheffield, 211 F.R.D. at 413 (denying notice

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regarding alleged off the clock and holding “a collective action certified on the facts presented
thus far would be mired in particularized determinations of` liability and damages rather than
collective consideration of common questions of law and fact”); Briggs v. United States 8 Wage
& Hour Cas. 798, 800 (Fed. Cl. 2001) (denying census employees’ request for notice based on
finding that each employee’s claim would be “highly fact-specific and certification as a
collective action would limit plaintiffs’ attomeys’ ability to adequately represent the interests of
their clients as required by Rule 11”).

Plaintiffs’ assertion that the Court should conclude that other Store Managers and
Assistant Managers are similarly situated to them because Rite Aid has been allegedly involved
in some unidentified and non-descript other Wage and hour related litigation is a non-starter. §§
Plaintiffs’ Brief at 20-21. Litigation and Departrnent of Labor investigations in other states are
not relevant w M, 242 F. Supp. 2d at 1099 (evidence from other litigation in other states
is neither relevant nor entitled to weight on the issue of similarity); Mc_) M§arsh, 242 F. Supp.
2d at 1089. Moreover, the California litigation did not involve FLSA claims it involved only
claims under California’s Wage and hour laws which are substantially different from the FLSA.
LeClair dep. at 11, 13, 25; §rr_lw Cal. Lab. Code § 515 (a); IWC Wage Order 7-2001,

§ (A) (1) Lth_ 29 C.F.R. § 541 .101 _QML Plaintiffs have offered no pleadings or other evidence
concerning the conclusion or claims asserted in any of the litigation they vaguely reference
Notably, Store Managers in California remain exempt under California’s state wage & hour

laws which are more employee friendly than the FLSA.34

 

54 Plaintiffs also ignore the fact that some Rite Aid Assistant Managers are members of unions and their
compensation is dictated by collective bargaining agreements Panzer dep. at 20; Bailey dep. at 72-73.

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2. Plaintiffs Are Not Similarly Situated To The Putative Class
Members With Respect To The Relief They Have Standing To
Pursue
Plaintiffs all former employees are not similarly situated to current employees because

they lack standing to pursue claims for prospective injunctive relief. g Ente;prise Fire Fighters

Ass’n v. Watson, 869 F. Supp. 1532, 1543 (M.D. Ala. 1994); see also Jackson v. Motel 6

 

Multipu_rpose, lnc., 130 F.3d 999, 1007 (l lth Cir. 1997); Reid v. Lockheed Martin Aeronautics
FC§, 205 F.R.D. 655, 665 n.13 (N.D. Ga. 2001); Lang v. Kansas Citv Power & Lith Co., 199
F.R.D. 640, 646 (W.D. Mo. 2001); Ward v. Johns Hopkins Univ., 861 F. Supp. 367, 378 (D. Md.
1994). To seek injunctive relief, a plaintiff must show “[a] real or immediate threat that the
plaintiff will be wronged again - a ‘likelihood of substantial and immediate irreparable injury.”’
Citv of Los Angeles v. Lvons 461 U.S. 95, 111 (1983) (citation omitted); MQ Wooden v.
Bd. of Regents, 247 F.3d 1262, 1283-84 (1 lth Cir. 2001). A former employee, unlike a current
employee, has “virtually no chance of suffering future” alleged wrongdoing, and therefore lacks
standing to seek a prospective injunction. Davis v. Marsh, 876 F.2d 1446, 1450-51 (9th Cir.
1989) (plaintiff discharged from army lacks standing to seek injunctive relief); g Hawkins v.

Groot lndus. lnc., No. 01-C-1731, 2003 WL 22057238, at *2 (N.D. lll. Sep. 2, 2003).

 

ln contrast current Rite Aid Store Manager and Assistant Managers would have standing
to assert claims for prospective injunctive relief. § M, 205 F.R.D. at 665. Therefore,
Plaintiffs’ claims for relief, which are limited to claims for damages unique to each individual
Plaintiff, are not similar to the claims for prospective injunctive relief that can be asserted by
current employees § Wooden, 247 F.3d at 1287-88 (explaining in Rule 23 context that

typicality does not exist between current and former employees because former employees lack

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standing to seek injunctive relief); Hawkins 2003 WL 2205 7238 at *2 (explaining court cannot
certify class of current and former employees under Rule 23 because named plaintiffs all former
employees lack standing to seek injunctive relief while current employees could assert such
claims). In light of the difference in the available claims for relief, Plaintiffs cannot demonstrate
that they are similarly situated to the current Store Managers and Assistant Managers they
improperly ask this Court to certify as a conditional class

Moreover, Plaintiffs seek to include employees in two different job titles with somewhat
different responsibilities and duties that undermines the similarity between the employees
Specifically, Store Managers bear primary responsibility for all store operations while Assistant
Managers bear primary responsibility in the Store Manager’s absence and then are limited by the
discretion afforded by particular Store Managers Moreover, there is an inherit conflict between
Store Managers and Assistant Managers being in the same class Store Managers directly
supervise Assistant Managers and are potentially individually liable for claims asserted by
Assistant Managers ln fact Plaintiff Gawor supervised both Plaintiffs Morris and Walker.
Gawor dep. at 285-86, 288. Because Store Managers (including Gawor) could be held
individually responsible for potential claims of Assistant Managers (including Morris and
Walker), there is an inherit conflict of interest between the two groups See generally, M`te

204 F_ snpp. 2d at 13,14.55

 

33 Plaintiffs’ counsel currently represents both Store Manager Plaintiff Gawor and Assistant Manager
Plaintiffs Walker and Morris The conflict of interest raised by these facts should be considered with
regard to Plaintiffs’ counsels’ adequacy of representation of the proposed class

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D. PLAINTIFFS’ PROPOSED COLLECTIVE ACTION IS WHOLLY
UNMANAGEABLE

l. Individual Issues And Defenses Predominate
To proceed with a collective action, there must be no individualized issues that render

collective action treatment unmanageable g Lusardi v. Lechner 855 F.2d 1062, 1074-75 (3d

 

Cir. 1988) (“Whether a class action is appropriate because of the different individual defenses
[is] entrusted to the district court’s sound discretion.”); see also Morisky, 111 F. Supp. 2d at

498-99; Bavles v. Am. Med. Response of Colorado, lnc., 950 F. Supp. 1053, 1066 (D. Colo.

 

1996); Thiessen v. Gen. Elec. Capital Corp., 996 F. Supp. 1071, 1081 (D. Kan. 1998) (“Thiessen

l”); Brooks 164 F.R.D. at 568; Bonilla v. Las Vegas Cigar Co., 61 F. Supp. 2d 1129, 1138 n.6

 

(D. Nev. 1999) (stating that to proceed with a collective action, the issues “must not be distinct
and specific to individual plaintiffs”); R_ay, 1996 WL 948231, at *4 (stating that “the court must
also look to specific factual similarities or differences and manageability concerns”). The factors
to be considered by the Court in determining whether individual issues make class treatment
inappropriate include: (1) the disparate factual and employment settings of the individual
plaintiffs (2) the various defenses available to the defendant that appear to be individual to each
plaintiff; and (3) fairness and procedural considerations §§ Lusardi v. Xerox Co;p., 188 F.R.D.
351, 359 (D.N.J. 1987) (“Lusardi l”); My@. 950 F. Supp. at 1066; Thiessen l, 996 F. Supp. at

1081; Brooks, 164 F.R.D. at 568.

 

“As previously discussed, the determination of whether an employee is exempt is an
inquiry that is based on the particular facts of his employment and not general descriptions.”
B, 269 F.3d at 689. ln this context it is utterly impossible to conclude, as Plaintiffs suggest

that all Store Managers and Assistant Managers are improperly classified as exempt employees

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ln M, 111 F. Supp. 2d at 498, plaintiffs alleged that all plaintiffs were similarly situated in
that the potential class was limited to exempt employees in one location Who fell within discrete
salary grade levels and Were not paid overtime compensation for hours worked in excess of 40
hours per week. The Court agreed with the defendant that fact specific inquiries and the
dissimilarities between the job duties of the named plaintiffs and opt-in plaintiffs employed at the
same facility still made collective action treatment inappropriate The Court found that the
determination of which employees are entitled to overtime pay under the FLSA Was dependent
on an individual, fact-specific analysis of each employee’s job responsibilities ln denying class
certification, the Court explained that because evaluation of the claims would have to be made on
an employee-by-employee basis “litigating this case as a collective action would be anything but
efficient.” id at 499.

Defendant will assert factual defenses unique to each Plaintiff, which would require
protracted mini-trials over an extended period of time For example, some Plaintiffs may be
subject to the administrative exemption if they are not subject to the executive exemption.
Defendant has also presented testimony from employees in Plaintiff Smith’s store that she rarely
performed non-managerial work, stayed in her office ninety percent (90%) of the time, and
worked substantially less than the hours she now claims that she worked _S_§ Declarations of
Donna Glass Jason Norris and DeWanna McClure, Exhibits 7, 20 and 19, respectively.
Defendant will present factual defenses as to both liability and damages for each Plaintiff

The Court should also consider prejudice to the Defendant that might result from trying
individual claims together as Plaintiffs suggest S_e__e §ayl§, 950 F. Supp. at 1067. Where, as
here, individualized determinations and defenses are necessary upon an employee-by-employee

basis courts should refuse to permit collective treatment § Tucker, 872 F. Supp. at 948-49;

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Ulvin v. Northwestern Nat’l Life lns. Co., 141 F.R.D. 130, 131 (D. Minn. 1991); Lusardi l, 118
F.R.D. at 352. lndeed, courts note that where individualized determinations are necessary, a case
will likely disintegrate into a series of mini-trials on each putative class member’s individual
claims See, e.g., Thiessen v. Gen. Elec. Capital Corp., 13 F. Supp. 2d 1131, 1143 (D. Kan.
1998) (decertifying collective action of only 23 plaintiffs after determining their individualized
issues would convert the case to “23 individual jury trials”) (“Thiessen ll”), reversed on other

g;ounds 267 F.3d 1095 (10th Cir. 2001), cert. denied, 536 U.S. 934 (2002); see also _IQy, 1996

 

WL 93 8231 at *5 (refusing to certify collective action given “significant manageability problems

inherit in a trial of 1000 plus individuals”); Lusardi l, 118 F.R.D. at 370-71 (decertifying

collective action due to “serious questions” regarding manageability of what would amount to

well over 1,000 separate trials). As one district court recently commented:
[T]he court is concerned with coherently managing a trial of the action and
presenting the evidence in a manner that will not confuse the jury or unduly
prejudice any party. lf the defendants actually do possess substantial evidence of
bona fide individualized defenses the result may be such a mish-mash of highly
detailed evidence that in a collective action both the defendants and the opt-in
plaintiffs would run the risk of having any individualized consideration of the
claims lost in the mire. There is simply a realistic limit on what a jury may
reasonably be expected to absorb, retain and process....

Thiessen I, 996 F. Supp. at 1084.

Plaintiffs have offered absolutely no legitimate justification, or even coherent allegations
to support proceeding with this matter as a collective action. Moreover, the uncontroverted
evidence is that Store Managers and Assistant Managers in each store have somewhat differing
job duties and responsibilities and different district managers who expect them to perform certain

tasks in certain manners ln sum, Plaintiffs have not demonstrated that the employment

circumstances of Store Managers and Assistant Managers in Rite Aid’s 3,400 stores are similar.

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There is simply no similarly situated class of employees that could be subject to collective action
treatment under Plaintiffs’ theory.
2. Collective Action Treatment Would Be Inefficient

Plaintiffs’ request for notice should be denied because the resulting collective action
potentially would require the Court to conduct mini-trials for years orr end, making the collective
action unmanageable in the extreme While the collective action is designed irl part to lower
individual costs by pooling resources the Supreme Court has held that a second and equally
important goal is the benefit to the judicial system from the “efficient resolution in one
proceeding of common issues of law and fact.” Sperling, 493 U.S. at 170. This purpose of
achieving efficiency in the judicial system is not served by grouping “a lot of individual people
with specific grievances” together, as it quickly becomes “a monster that no one can deal with.”

EEOC v. MCl lnt’l lnc., 829 F. Supp. 143 8, 1445-46 (D.N.J. 1993) (denying collective action

 

status). Indeed, one court noted that “[i]t is oxymoronic to use [a collective action] device in a
case where proof regarding each individual plaintiff is required to show liability.” hyl§, 950 F.
Supp. at 1065.

As a general matter, the larger the proposed collective action, the less manageable it will
be ln the Rav v. Motel 6 Operating LP, the court was confronted with a request for notice under
Section 216(b) to 1,000 to 1,500 present and former assistant motel managers (approximately
10% of the number of employees Plaintiffs seek to include in their proposed class). 1996 WL
93 8231 at *2. The trial court held that the “significant manageability problems inherent in a trial
of 1000 plus individuals demonstrate that it is inappropriate to pursue this case as a class action
[under Section 216(b)].” lil. at *5. Notice should therefore be denied unless a plaintiff can

demonstrate that the proposed collective action would be manageable “As a matter of sound

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case management a court should, before offering to assist plaintiff in locating additional
plaintiffs make a preliminary inquiry as to whether a manageable class exists.” D’Anna, 903 F.

Supp. at 894 (citation omitted); accord Severtson, 137 F.R.D. at 266-67.

 

The collective action that Plaintiffs ask this Court to certify could, for a number of

reasons consume judicial resources for years Thus the request for notice should be denied
a. Opt-in discovery after notice would be unmanageable

Notice is just the first part of a two-step process under a Section 216(b) collective action.
Following notice and identification of people interested in opting in, the Court must determine
whether the opt-ins actually are similarly situated and should be allowed to proceed as part of a
collective action. Accordingly, after notice to the potential opt-ins discovery Would proceed
with regard to each individual who elects to opt in. This Court would then have to determine
whether each proposed opt-in is in fact similarly situated to be included in the litigation of this
case This determination alone could implicate a number of witnesses for each potential opt-in,
including various District Managers co-workers and subordinate employees

b. Each individual opt-in would be required to establish liability
and damages

Each Plaintiff and each of the approximately twelve thousand (12,000) potential opt-ins
would have to prove his or her own claim through a separate mini-trial. Each claimant would be
required to carry his or her burden of proof that he or she was not properly classified as a bona
fide executive If liability were established then the Court would have to move on to a
determination of damages This Would not be a simple mathematical calculation and would be
subject to individual specific defenses PlaintiH`s’ lack of common proof inevitably means that
the claims would be won or lost based on the individualized and anecdotal recollections of each

employee degenerating into individual employees telling their individual stories Potentially

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hundreds if not thousands of lawsuits would be tried before this Court to a single jury. Quite
simply, the Section 216(b) collective action mechanism Was neither designed nor intended for
litigation on the grand scale proposed by Plaintiff. This is especially true upon contemplation of
the potentially overwhelming number of individual-specific issues presented by this case
E. PLAINTIFFS’ EVIDENCE DOES NOT SUPPORT NOTICE OF A
COLLECTIVE ACTI()N IN THEIR OWN STORES OR DISTRICTS, LET
ALONE NATIONWIDE
Even if the Court concluded that notice should be issued, the breadth and scope of the
notice Plaintiffs’ propose is not supported by tlle record lt is Plaintiffs’ burden of proof to
produce admissible evidence to support the geographic scope of the proposed notice § M,
279 F. Supp. 2d at 1235. Courts regularly decline to authorize notice as broad as requested,
choosing instead to authorize notice that matches the evidence before the Court “[A] plaintiff
must demonstrate that employees outside of the work location for which the plaintiff has
provided evidence were similarly affected by alleged work policies in order for the court to

certify a collective action which extends beyond the plaintiffs own work location.” id at 1235

(citing H§per, 185 F.R.D. at 363); see also H§per, 185 F.R.D. at 363 (refirsing to recognize an

 

FLSA collective action extending beyond the plaintiff s restaurant absent evidence that other
restaurants handled overtime compensation issues similarly); BLoks 164 F.R.D. at 569.

Here, Plaintiffs themselves only hail from a handful of stores in two small geographic
areas located within two Districts and one Region. §§ Plaintiffs’ Declarations at 11 2, attached
to Plaintiffs’ Motion as Exhibits 23, 25, 27, 29, 31, 32, and 33. Plaintiffs offer no evidence that
they and the members of the proposed class are similarly situated with respect to geographic
location. lndeed, they offer no evidence that individuals outside of their own stores are similarly

situated to them. To the extent the Court certifies a class it should be limited to the stores where

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Plaintiffs worked, or, at most the two Districts where Plaintiffs worked because, under Plaintiffs
theory, the District Managers largely govern the responsibilities and discretion of the Store
Managers and Assistant Managers they supervise

Courts have commonly refused to provide notice to a proposed collective action of
employees who allege to have been improperly classified as exempt employees and worked at
various locations of a company because, in that scenario, differences in the job duties cannot be
attributed to any centralized management action. _S_§ R_av, 1996 WL 93 8231 at *4 (declining to
provide notice to more than one-thousand employees because motel properties had different
budgets and overtime so the pressures to work off the clock could not be attributed to any
centralized management action); H_arpe_r, 185 F.R.D. at 362 (rej ecting the plaintiffs’ inference of
widespread overtime violations based on alleged pressure to reduce labor cost and denying
notice to facilities in six states).

ln m, the Court denied the plaintiffs request for notice to others who held the same
position and allegedly were not paid for overtime work, based on evidence that the plaintiff s
claims arose from his supervisor’s individual requirements The iiQrile Court held, “other
appraisers who were not supervised by plaintiffs supervisor, while they may have been made
subject to the same production goals where not necessarily subject to the requirement if they
clock out by 5:00 p.m. and, therefore, should not be included within the scope of any purported
collective action.” 279 F. Supp. 2d at 1235-36; §M Ha_l_l, 2002 WL 413901 at *1 (holding
plaintiffs “unsupported assertions of widespread violations” of the Fair Labor Standards Act
were “not sufficient to meet Plaintiff s burden” under the notice requirements of Section 2l6(b));
iili:_ke_;, 872 F. Supp. at 948 (denying certification beyond one facility because wage and

scheduling decisions were made at different levels of management in each facility); Clark v.

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Dollar General Co;p., No. 3:00-0729, 2001 WL 878887, at **5-6 (M.D. Tenn. May 23, 2001)
(limiting certification of assistant manager class to specific districts in two states).

Thus, courts will narrow certification where a named plaintiff from one location seeks to
include other locations from other states or regions See e.g., McOuav v. AlG, lnc., No.
4:01CV00661, 2002 WL 31475212, at *3 (E.D. Ark. Oct. 25, 2002) (finding proposed
geographic size of 29 states in 54 separate locations unreasonable and significantly limiting
scope of notice); M, 185 F.R.D. at 363 (denying certification for employees in restaurants in
six different states because the employees were subject to different working conditions); sw
Lusardi v. Xerox Co;p., 122 F.R.D. 463, 465 (D.N.J. 1988) (“Lusardi Il”) (decertification
required where employees were from facilities covering 16 different states).

Likewise, courts will deny, or strictly limit certification based on differences among
management even within the same company. § M, 204 F. Supp. 2d at 138; Misg
Camper v. Home Qualig Mgmt., lnc., 200 F.R.D. 516, 521 (D. Md. 2000); HM, 185 F.R.D.
at 363; BLoks 164 F.R.D. at 569 (ADA claim) (employees not similarly situated were decisions

made by various supervisors); Ulvin, 141 F.R.D. at 131 (same); MCl lnt’l, 829 F. Supp. at 1446

 

(same). Indeed, differences in who makes relevant decisions can be fatal to a plaintiff s
argument that employees under different management are similarly situated § ip_c_lg§, 872 F.
Supp. at 948 (denying certification beyond one facility because wage and scheduling decisions
were made at different levels of management in each facility).

In surn, Plaintiffs have no admissible evidence concerning any alleged violations of the
FLSA outside of two limited geographic areas This meager showing plainly is insufficient to
support any type of collective action whatsoever. §§ H_ay;l§, 669 F.2d at 888 (unsupported

assertions that FLSA violations were widespread provided insufficient factual showing for

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broad-based notice). The record demonstrates that Plaintiffs’ job duties and responsibilities
varied store-by-store and that they are not even similarly situated to other Store Managers and
Assistant Managers in their own Districts much less nationwide S_e_e Sections ll, C, 1-2, and D,
1-17, §§a at p. 7-24.

In addition, Plaintiffs’ attempts to extend Court-approved notice to all Store Managers
and Assistant Managers employed by Rite Aid within the past three years and thereby
substantially increase the size of the putative class should be rejected Under the FLSA, a two-
year statute of limitations applies A three-year limitations period arises only when the plaintiff
proves that violation was “willful.” 29 U.S.C. § 255(a). Plaintiffs have made no showing that
Rite Aid’s unspecified purported violation was “willful.” lhus there is no basis for issuing
notice to the overbroad putative class proposed by Plaintiffs within the three-year period prior to
Plaintiffs filing their opt-in claims

An employer acts “willfully” for purposes of a three-year statute of limitations if the
“employer either knew or showed reckless disregard for the matter of whether its conduct was
prohibited by the statute.” McLathlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988). “[T]he
showing needed for a finding of willfulness is demanding in that even if an employer acted
unreasonably, if the employer’s action was not reckless in determining its legal obligations under
the FLSA, such action is not ‘willful.”’ Duncan v. Brockwav Standard, lnc., No. 1:90-CV-2867-
GET, 1992 WL 510256, at *6 (N.D. Ga. Sep. 21, 1992); see also Alv v. Butts Countv, 841 F.
Supp. 1199, 1201 (M.D. Ga. 1994).

ln this case, there is simply no evidence to support the claim that Rite Aid acted with
“reckless disregard” towards its obligations under the FLSA, thereby justifying a three-year

limitations period ln fact Rite Aid has audited its Assistant Managers and attempted to ensure it

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complies with the FLSA. Moreover, it has relied on findings from various state departments of
labor, including Oregon and Washington, that have concluded that its Assistant Managers are
properly classified as exempt Declaration of Wayne LeClair at 11 4, Exhibit 17. Furthermore,
the United States Department of Labor has never formally investigated the exempt status of Rite
Aid’s Store Managers M.

Moreover, Plaintiffs’ attempt to insert the “willfulness” issue into this litigation interjects
yet another individualized issue that renders collective action treatment inappropriate Whether
an alleged violation is willfirl could depend on the unique circumstances of each individual
claim. Because the “willfulness” issue may vary from region to region, district to district store
to store, or supervisor to supervisor, the statute of limitations and thus the body of relevant
evidence that the fact finder may consider, may vary. Thus in one store, the fact finder might be
able to base its findings on evidence going back three years while in another store it might only
be able to rely on evidence going back two years Thus the willfulness issue adds yet another
area of complexity to this litigation, further demonstrating the impropriety of collective action
treatment Accordingly, Plaintiff should not be entitled to Court facilitated notice to all Store
Managers and Assistant Managers within three years prior to the date on which they filed their
Complaint.56

F. DUE PROCESS PROBLEMS WITH REPRESENTATIONAL PROOF

Even if Plaintiffs had not failed to satisfy their burden of proof at this stage, and the Court
had any basis to determine that the Plaintiffs’ and potential opt-ins’ claims are somehow
manageable, collective treatment of the individual claims would violate Rite Aid’s constitutional

due process right The Due Process Clause guarantees a “fair opportunity to defend oneself.”

 

56 lf the Court conditionally certifies any class and facilitates notice, Defendant requests a reasonable
opportunity to address numerous inadequacies in Plaintiffs’ proposed notice

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Consolidation Coal Co. v. Borda, 171 F.3d 175, 184 (4th Cir. 1999) (quoting Lane Hollow Coal
Co. v. Director OWCP, 137 F.3d 799, 807 (4th Cir. 1998)). The opportunity to defend one’s self
and to be heard is “[a] fundamental requirement of due process Which must be granted at a
meaningful time and in a meaningful manner.” Armstrong v. Manzo, 380 U.S. 545, 552 (1965).
Therefore, the requirements of due process dictate that if an issue is determinative, “each party
should be afforded a full and fair opportunity to present evidence relevant to that issue and to
contest evidence proffered by any other party.” United States v. Citv of Hialeah, 140 F.3d 968,
976 (1 lth Cir. 1998). As the Lusardi l Court noted, the FLSA provides for collective actions
“only where employees are similarly situated in order that a defendant be afforded an
opportunity to effectively defend Requiring less would amount to a deprivation of a property
right in violation of the Due Process Clause” Lusardi I, 118 F.R.D. at 372.

Due process also requires that the procedures before a jury allow them to engage in
comprehensible and meaningful decision-making Thus, one Court recently observed:

The Court is also concerned that forcing the plethora of individual issues into a

class action constitutes a disservice to both potential class members and the

Defendant [T]he Defendant will be in a position where it has to prepare for

nearly 2000 different trials simultaneously Finally, neither party can seriously

expect a jury’s full attention and consideration for the length of such proceedings

nor can they expect evenhanded, consistent treatment from beginning to end

This is not an indictment of the class action procedure but an acknowledgment of

human nature that will surely be present amongst the jurors The Court

understands this is a risk in all class actions however, the risk is heightened here

because of the number and nature of the individual issues
Smith v. Brown & Williamson Tobacco Corn.. 174 F.R.D. 90, 98 (W.D. Mo. 1997); see also
Malcolm v. Nat’l vasum Co., 995 F.2d 346, 350 (2d Cir. 1993) (“The systemic urge to
aggregate litigation must not be allowed to trump our dedication to individual justice, and we

must take care that each individual plaintiffs - and defendant’s - cause not be lost in the shadow

of a towering mass litigation.”) (citation omitted).

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lf this case proceeds as a collective action, Defendant’s rights undoubtedly will be
trampled. Perhaps all the claims Will be heard by one jury resulting in an unacceptable unending
and confusing parade of witnesses that would be highly prejudicial to Rite Aid. _S§ B_aile_s_, 950
F. Supp. at 1065, 1067; see also Amold v. Eastern Air Line, lnc., 712 F.2d 899, 906 (4th Cir.
1983) (per curiam); In re Masonite Co;p., 170 F.R.D. 417, 425 (E.D. La. 1997). Alternatively,
the trial may be unacceptably shortened or divided For example, Plaintiffs might attempt to rely
upon representational testimony or the trial may proceed on a bifurcated basis which would
violate Rite Aid’s rights by having multiple fact-fmders deciding the same issues Further, any
attempt to shorten or manage the trial that would prevent Rite Aid from raising each and every
defense at an appropriate and meaningful time would violate Rite Aid’s due process rights w
Armstrong, 380 U.S. at 552; Cig of Hialeah, 140 F.3d at 976; Lusardi I, 118 F.R.D. at 372.

ln light of the Defendant’s due process right the FLSA provides for collective actions
“only where employees are similarly situated in order that the Defendant may be offered an
opportunity to effectively defend.” ln short, due process requires that Rite Aid be afforded the
opportunity to present evidence of the countless individualized fact-issues and defenses
applicable to each opt-in’s claims §e_e,§g;, M, 54 F.3d at 1215 (refusing to permit notice
where there were a “variety of particular, differing, and sometimes unique defenses available to
[defendant] in contesting the varied and disparate claims”); BLles 950 F. Supp. at 1067
(defenses such as plaintiffs implied agreement to policy cannot be addressed on a collective
basis). lt is Plaintiffs’ burden of proof under §216(b) to address these manageability and due-
process issues Plaintiffs fail to address them in their brief and have not presented a plan to
organize even the massive scope of discovery which would follow the proposed notice, let alone

propose a manageable trial plan. Plaintiffs should not be permitted to use the mass of proposed

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litigation and attempted confusion to unduly prejudice Rite Aid or to deprive it of due process
and the right to a jury trial. Plaintiffs’ proposed collective action is simply unmanageable and
there is no way of making it any less unmanageable without trampling upon Rite Aid’s rights and
consuming the Court’s resources for years to come
IV. CONCLUSION

Defendant respectfully requests that Plaintiffs’ Motion to Facilitate 29 U.S.C. § 216(b)
Notice be denied Plaintiffs have failed to meet their burden of proving that conditional
certification is appropriate and should not be permitted to send notice pursuant to Section 216(b).
ln the alternative, Defendant requests that the Court limit the scope of any conditional class to
Store Managers and/or Assistant Managers who worked in Plaintiffs’ stores for a period of two
years prior to July 21 , 2003, permit Defendant an opportunity to object to Plaintiffs proposed

notice, and revise Plaintiffs’ proposed notice to protect Defendant’s rights and comply with the

 

law.
Respeeinilly Subinined this /_=‘-'day of June, 2004.

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IN THE UNITED STATES DISTRICT COURT
F()R THE MIDDLE DISTRICT OF ALABAMA
NORTHERN DIVISION

SANDRA HOLT, DEBRA GAWOR,
POLLY SMITH, JOANN MORRIS,
MARTY COOPER, ADELIA HARTZOG,
PAUL D. PITTMAN, and MARIE
WALKER on behalf of themselves and
others similarly situated

Plaintiffs

v. ClVlL ACTION NUMBER: CV-O3-A-748-N

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RITE AID CoRPoRATloN, )
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Defendant

CERTIFICATE OF SERVICE

l hereby certify that l have served a true and correct copy of the above and foregoing
DEFENDANT RITE AID CORPORATION’S RESPONSE TO PLAINTIFFS’ MOTION
TO FACILITATE 29 U.S.C. § 216(b) NOTICE on Plaintiffs’ counsel by depositing the same
ill the U.S. mail, via first-class prepaid, and addressed as follows:

Rocco Calamusa, Jr., Esq.

WIGGINS, CHILDS, QUINN & PANTAZIS, P.C.
1400 South'l`rust Tower

420 Nenb 20th street

Birmingham, Alabama 35203

ThisL‘/'dey er Jnne, 2004.

mey e dant

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